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                                      Exhibit I

                            Revised Proposed Interim Order




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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

         In re:                                                 Chapter 11

         RGN-GROUP HOLDINGS, LLC, a Delaware                    Case No. 20-11961 (BLS)
         limited liability company, et al. 1                    (Jointly Administered)

                          Debtors.                              Re: D.I. 75


                         INTERIM ORDER (I) AUTHORIZING THE DEBTORS
                    TO OBTAIN POSTPETITION FINANCING, (II) AUTHORIZING THE
                       DEBTORS’ USE OF CASH COLLATERAL, (III) GRANTING
                   ADEQUATE PROTECTION, AND (IV) GRANTING RELATED RELIEF

                  Upon the motion (the “Motion”) of the above referenced debtors and debtors in

         possession (collectively, the “Debtors”) in the above-referenced chapter 11 cases (the “Chapter

         11 Cases”), for entry of an interim order (this “Interim Order”) and a final order (“Final Order”),

         pursuant to sections 105, 361, 362, 363, 364 and 507 of title 11 of the United States Code, 11

         U.S.C. §§ 101, et seq. (the “Bankruptcy Code”), Rules 2002, 4001, 6004 and 9014 of the Federal

         Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 4001-2 of the Local Rules of

         Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

         Delaware (the “Local Rules”), seeking, inter alia:

                  (i)     authorization for the Debtors to obtain up to $17,500,000 in aggregate
                          principal amount of postpetition financing (the “DIP Facility”), and to access
                          up to $7,500,000 in the aggregate in the interim and pending a final hearing,
                          all on the terms and conditions set forth in this Interim Order and that certain
                          DIP Facility Term Sheet (the “DIP Term Sheet,” substantially in the form
                          attached hereto as Exhibit A and together with this Interim Order and the DIP

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           The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s
         Federal Employer Identification Numbers (“FEIN”), where applicable are as follows: RGN-
         Group Holdings, LLC, RGN-National Business Centers, LLC (7723), H Work, LLC (4516),
         RGN-Columbus IV, LLC, RGN-Chapel Hill II, LLC, RGN-Chicago XVI, LLC, and RGN-Fort
         Lauderdale III, LLC. The aforementioned Debtors that do not include a FEIN are disregarded
         entities for tax purposes and do not have FEINs. The mailing address for the Debtors is 3000
         Kellway Drive, Suite 140, Carrollton, Texas 75006 (Attn: James S. Feltman, Responsible
         Officer).
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                 Budget (defined below) as the same may be amended, restated or
                 supplemented from time to time, collectively, the “DIP Loan Documents”), 2
                 by and among the Debtors and Regus Corporation (“Regus,” in such capacity,
                 the “DIP Lender”);

        (ii)     authorization for each Debtor to grant security interests, liens, and
                 superpriority claims to the DIP Lender to secure all obligations of the Debtors
                 under and with respect to the DIP Facility (collectively, the “DIP
                 Obligations”), including, subject to entry of the Final Order, on the proceeds
                 and property recovered in respect of such Debtor’s claims and causes of action
                 (but not on the actual claims and causes of action) arising under Chapter 5 of
                 the Bankruptcy Code or any other similar state or federal law (collectively, the
                 “Avoidance Action Proceeds”);

        (iii)    authorization for each Debtor, pursuant to sections 105, 361, 362, 363 and 507
                 of the Bankruptcy Code, to use cash collateral, as such term is defined in
                 section 363(a) of the Bankruptcy Code (“Cash Collateral”), and all other
                 Prepetition Collateral (defined below), in accordance with the terms of this
                 Interim Order and the DIP Budget, as provided herein;

        (iv)     to provide Adequate Protection (defined below) of the liens and security
                 interests (such liens and security interests, the “Prepetition Liens”) of Regus,
                 as prepetition lender (in such capacity, the “Prepetition Secured Party”) under
                 that certain Senior Loan and Security Agreement, dated as of August 1, 2013
                 (as amended, restated, supplemented or otherwise modified from time to time,
                 the “Prepetition Credit Agreement”, along with any other agreements,
                 instruments, notes, guaranties and other documents related thereto, including
                 without limitation each of the Joinder Agreements to the Prepetition Credit
                 Agreement executed by each of the Debtors (each, a “Joinder Agreement”),
                 are referred to herein collectively, the “Prepetition Financing Documents”)),
                 by and among the applicable Debtor and the Prepetition Secured Party, which
                 Prepetition Liens are being consensually primed by the DIP Facility, as more
                 fully set forth in this Interim Order;

        (v)      authorization to include as a borrowing under the DIP Facility the amount of
                 any Cash Collateral used or unsecured credit granted to Debtor RGN-
                 Columbus IV, LLC (“Columbus-IV”) pursuant to the Stipulation
                 (I) Authorizing Use of Cash Collateral and Providing Adequate Protection
                 and (II) Confirming Administrative Expense Status for Further Advances
                 [Docket No. 12] (the “Stipulation”), by and between the Prepetition Secured
                 Party and Columbus IV, LLC, attached hereto as Exhibit B;




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  Capitalized terms not otherwise defined herein shall have the meanings ascribed to those terms
in the DIP Loan Documents.


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        (vi)     modification of the automatic stay imposed under section 362 of the
                 Bankruptcy Code to the extent necessary to implement and effectuate the
                 terms and provisions of this Interim Order and the Final Order;

        (vii)    waiver of any applicable stay with respect to the effectiveness and
                 enforceability of the Interim Order or the Final Order (including a waiver
                 pursuant to Bankruptcy Rule 6004(h)); and

        (viii) related relief.

and an interim hearing having been held by this Court on August 31, 2020 (the “Interim

Hearing”); and pursuant to Bankruptcy Rule 4001 and Local Rule 4001-2, due and sufficient

notice of the Motion and the relief sought at the Interim Hearing having been given under the

particular circumstances by the Debtors; this Court having considered the Motion and all

pleadings related thereto, including the record made by the Debtors at the Interim Hearing; and

after due deliberation and consideration, and good and sufficient cause appearing therefor:

        THE COURT HEREBY FINDS AS FOLLOWS:

        A.       Between July 30, 2020 and August 17, 2020 and (as to the applicable Debtor, the

“Petition Date”), each applicable Debtor filed with this Court a voluntary petition for relief under

chapter 11 of the Bankruptcy Code. The Debtors are continuing to operate their respective

businesses and manage their respective properties as debtors in possession pursuant to sections

1107(a) and 1108 of the Bankruptcy Code.

        B.       On July 31, 2020, the Office of the United States Trustee for the District of

Delaware (the “U.S. Trustee”) appointed Natasha Songonuga to serve as the trustee under

section 1183(a) of the Bankruptcy Code (the “Subchapter V Trustee”) for Columbus IV. The

U.S. Trustee subsequently appointed Ms. Songonuga as the Subchapter V Trustee for RGN-

Chapel Hill II, LLC and RGN-Chicago XVI, LLC on August 10, 2020, and for RGN-Fort

Lauderdale III, LLC on August 13, 2020.          The U.S. Trustee subsequently appointed Ms.



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Songonuga as the Subchapter V Trustee for RGN-Group Holdings, LLC, RGN-National

Business Centers, LLC, and H Work, LLC (collectively, the “Guarantor Debtors”) on August 21,

2020.

         C.      No duly appointed, statutory committee of unsecured creditors (“Committee”), as

provided for under section 1102 of the Bankruptcy Code, has been appointed in the Chapter 11

Cases.

         D.      Subject to Paragraph 15 below, without prejudice to the rights, if any, of any other

party, the Debtors admit, stipulate and agree that:

                 (1)    All Prepetition Financing Documents are valid and enforceable by the

Prepetition Secured Party against each of the applicable Debtors.

                 (2)    As of the Petition Date, each of the Debtors was indebted and liable,

without defense, counterclaim or offset of any kind, to the Prepetition Secured Party under the

Prepetition Financing Documents, severally, but not jointly, in the principal amounts of not less

than those set forth on Schedule 1 attached hereto, plus, in each case, all accrued or hereafter

accruing and unpaid interest thereon and any additional amounts, charges, fees and expenses

(including any attorneys’, accountants’, appraisers’ and financial advisors’ fees and expenses

that are chargeable or reimbursable under the Prepetition Financing Documents as to such

Debtor) now or hereafter due under the Prepetition Financing Documents (all obligations of each

Debtor arising under the Prepetition Credit Agreement or any other Prepetition Financing

Documents, including all loans, advances, debts, liabilities, principal, interest, fees, charges,

expenses and obligations for the performance of covenants, tasks or duties, or for the payment of

monetary amounts owing to the Prepetition Secured Party by such Debtor, of any kind or nature,

whether or not evidenced by any note, agreement or other instrument, shall be referred to herein


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collectively as the “Prepetition Secured Obligations”), which Prepetition Secured Obligations are

legal, valid, and binding obligations of each applicable Debtor and no portion of which is subject

to avoidance, disallowance, reduction, or subordination pursuant to the Bankruptcy Code or

applicable non-bankruptcy law.

                 (3)    Pursuant to the Prepetition Financing Documents, as of the Petition Date,

each Debtor granted to the Prepetition Secured Party, to secure such Debtor’s Prepetition

Secured Obligations, a valid, duly authorized, non-voidable, binding, perfected, first-priority

security interest in all of the Collateral (as defined in the Prepetition Credit Agreement and

referred to in this Interim Order as the “Prepetition Collateral”).

                 (4)    The Debtors have no valid claims (as such term is defined in section

101(5) of the Bankruptcy Code) or causes of action against the Prepetition Secured Party with

respect to the Prepetition Financing Documents, whether arising at law, in contract or at equity,

including any recharacterization, subordination, avoidance or other claims arising under or

pursuant to sections 105, 510 or 542 through 553, inclusive, of the Bankruptcy Code.

                 (5)    Subject to the entry of the Final Order, the Debtors do not have, and

hereby forever release and waive, any claims, objections, challenges, counterclaims, causes of

action, defenses, setoff rights, obligations, rights to subordination or any other liabilities, whether

arising under the Bankruptcy Code or applicable non-bankruptcy law, against the Prepetition

Secured Party, or any of its agents, attorneys, advisors, professionals, officers, directors, and

employees from the beginning of time through the Petition Date.

        E.       The Debtors have an immediate and critical need to obtain postpetition financing

under the DIP Facility and to use Cash Collateral to, among other things, pay the costs and

expenses associated with administering the Chapter 11 Cases, continue the orderly operation of




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the Debtors’ business, maximize and preserve the Debtors’ going concern value, make lease and

other contractual payments and satisfy other working capital and general corporate purposes,

make capital expenditures as needed in the ordinary course of business to maximize the value of

the Debtor’s centers, in each case, in accordance with the DIP Budget, and to provide Adequate

Protection. Without access to the DIP Facility and the continued use of Cash Collateral to the

extent authorized pursuant to this Interim Order, the Debtors and their estates would suffer

immediate and irreparable harm.       The Debtors do not have sufficient available sources of

working capital and financing to operate their businesses or maintain their properties in the

ordinary course of business without access to the DIP Facility and the authorized use of Cash

Collateral.

        F.       In light of the Debtors’ facts and circumstances, the Debtors would be unable to

obtain (i) adequate unsecured credit allowable either (a) under sections 364(b) and 503(b)(1) of

the Bankruptcy Code, or (b) under section 364(c)(1) of the Bankruptcy Code, (ii) adequate credit

secured by (x) a senior lien on unencumbered assets of their estates under section 364(c)(2) of

the Bankruptcy Code, and (y) a junior lien on encumbered assets under section 364(c)(3) of the

Bankruptcy Code, or (iii) secured credit under section 364(d)(1) of the Bankruptcy Code from

sources other than the DIP Lender on terms more favorable than the terms of the DIP Facility.

The only viable source of secured credit available to the Debtors, other than the use of Cash

Collateral, is the DIP Facility. The Debtors require both additional financing under the DIP

Facility and the continued use of Cash Collateral under the terms of this Interim Order to satisfy

their postpetition liquidity needs.

        G.       The DIP Lender has indicated a willingness to provide the Debtors with certain

financing commitments, but solely on the terms and conditions set forth in this Interim Order and



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in the DIP Loan Documents. Accordingly, after considering all of their practical alternatives, the

Debtors have concluded, in an exercise of their sound business judgment, that the financing to be

provided by the DIP Lender pursuant to the terms of this Interim Order and the DIP Loan

Documents represents the best financing currently available to the Debtors.

        H.       The consent of the Prepetition Secured Party to the priming of its liens by the DIP

Liens (defined below), the Carve-Out (defined below) and use of the Prepetition Collateral,

including Cash Collateral, by the Debtors, is limited to this Interim Order and the DIP Facility

presently before this Court and shall not extend to any other postpetition financing or to any

modified version of this DIP Facility with any party other than the DIP Lender. Furthermore, the

consent of the Prepetition Secured Party to the priming of its liens by the DIP Liens, the Carve-

Out and use of the Prepetition Collateral, including Cash Collateral, by the Debtors does not

constitute, and shall not be construed as constituting, an acknowledgment or stipulation by the

Prepetition Secured Party that its interests in the Prepetition Collateral are adequately protected

pursuant to this Interim Order or otherwise, provided, however, the Prepetition Secured Party

agrees that the Adequate Protection granted to the Prepetition Secured Party in this Interim Order

is reasonable and calculated to protect the interests of the Prepetition Secured Party, subject to

the rights of the Prepetition Secured Party to seek a modification of such Adequate Protection, as

set forth below.

        I.       The security interests and liens granted pursuant to this Interim Order to the DIP

Lender are appropriate under section 364(d) of the Bankruptcy Code because the Prepetition

Secured Party is the only known holder of a valid, perfected, prepetition security interest or lien

in the property of the Debtors’ estates, and the Prepetition Secured Party has consented to the

security interests and priming liens granted pursuant to this Interim Order to the DIP Lender.



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        J.       Good cause has been shown for immediate entry of this Interim Order pursuant to

Bankruptcy Rules 4001(b)(2) and (c)(2) and Local Rule 4001-2(b).                In particular, the

authorization granted herein for the Debtors to execute the DIP Loan Documents, to continue

using the Prepetition Collateral, including Cash Collateral, and to obtain interim financing,

including on a priming lien basis, is necessary to avoid immediate and irreparable harm to the

Debtors and their estates. Entry of this Interim Order is in the best interest of the Debtors, their

estates and creditors. The terms of the DIP Loan Documents (including the Debtors’ continued

use of the Prepetition Collateral, including Cash Collateral) are fair and reasonable under the

circumstances, reflect the Debtors’ exercise of prudent business judgment consistent with their

fiduciary duties, and are supported by reasonably equivalent value and fair consideration for the

Prepetition Secured Party’s consent thereto.

        K.       The Debtors, the DIP Lender and the Prepetition Secured Party have negotiated

the terms and conditions of the DIP Loan Documents (including the Debtors’ continued use of

the Prepetition Collateral, including Cash Collateral), this Interim Order, and the Stipulation in

good faith and at arm’s length, and any credit extended and loans made to the Debtors pursuant

to this Interim Order and the Stipulation shall be, and hereby are, deemed to have been extended,

issued or made, as the case may be, in “good faith” within the meaning of section 364(e) of the

Bankruptcy Code. The Prepetition Secured Party is entitled to receive Adequate Protection as

set forth herein pursuant to sections 361, 362, 363 and 364 of the Bankruptcy Code for any

diminution in the value of its interests in the Prepetition Collateral, including Cash Collateral,

resulting from the automatic stay or the Debtors’ use, sale or lease of the Prepetition Collateral,

including Cash Collateral, during the Chapter 11 Cases.




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        L.       Based on the foregoing, and upon the record made before this Court at the Interim

Hearing, and good and sufficient cause appearing therefor,

        IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT: 3

        1.       Jurisdiction and Venue.     Consideration of the Motion constitutes a “core-

proceeding” as defined in 28 U.S.C. § 157(b)(2).           This Court has jurisdiction over this

proceeding and the parties and property affected hereby pursuant to 28 U.S.C. §§ 157 and 1334.

Venue for the Chapter 11 Cases and the proceedings on the Motion is proper in this district

pursuant to 28 U.S.C. §§ 1408 and 1409.

        2.       Notice. Given the nature of the relief sought in the Motion, this Court concludes

that the form, scope and timing of notice of the Motion and Interim Hearing was sufficient and

adequate under the circumstances and complies with the Bankruptcy Code, the Bankruptcy

Rules, the Local Rules, and any other applicable law, and no further notice relating to the Interim

Hearing or Motion is necessary or required.

        3.       The DIP Budget and Reporting.

                 (a)    Subject to and in accordance with the terms of the DIP Term Sheet, the

Debtors shall from time to time as set forth below prepare and provide to the DIP Lender a cash

flow forecast setting forth on a line item basis the Debtors’ projected cash receipts and cash

disbursements, substantially in the form of the initial budget annexed hereto Exhibit C (the initial

budget and each subsequent budget, a “DIP Budget”). The Debtors may use the proceeds of the

DIP Facility and Cash Collateral, for the purposes and up to the aggregate amounts set forth in

the DIP Budget and subject to the terms and conditions set forth in the DIP Term Sheet and this

3
 Pursuant to Bankruptcy Rule 7052, findings of fact shall be construed as conclusions of law and
conclusions of law shall be construed as findings of fact.




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Interim Order. Commencing September 25, 2020 and continuing on the same day every four

weeks thereafter (and if such date is not a business day, the following business day), the Debtors

shall provide the DIP Lender with an updated DIP Budget updating and/or extending the period

covered by the DIP Budget so that it covers at least the period ending 13 weeks from the week in

which the supplement is delivered. Commencing October 2, 2020 and continuing on the same

day every four weeks thereafter (and if such date is not a business day, the following business

day), the Debtors shall provide the DIP Lender with variance reporting, for the cumulative four-

week period ending the last business day of the week then ended, on a line item basis for cash

receipts,    cash      operating   disbursements   and     non-operating    bankruptcy-related   cash

disbursements, which reporting shall (a) detail the variance, if any, of actual cash disbursements

and actual cash receipts from the Budget and (b) provide an explanation of any per line item

variance greater than 10.00% (the “DIP Budget Variance Report”).

                 (b)      The DIP Budget may be amended, supplemented, extended or otherwise

modified from time to time in any manner as to which Debtors and the DIP Lender mutually

agree in writing without further order of this Court; provided that notice of any amendments

shall be given to the Office of the United States Trustee for this District (the “U.S. Trustee”) and

the Chapter 5 Trustee. The Debtors shall promptly provide any modified DIP Budget and DIP

Budget Variance Report to the U.S. Trustee and the Chapter 5 Trustee; provided, however, the

Debtors may take appropriate actions with respect to confidentiality of any portion of the DIP

Budget and DIP Budget Variance Report.

        4.       Use of Prepetition Collateral (including Cash Collateral). Immediately upon entry

of this Interim Order, each Debtor is authorized to use Cash Collateral, subject to and as set forth

in the DIP Budget, this Interim Order and the DIP Loan Documents. Each Debtor is further




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authorized to use the Prepetition Collateral (including Cash Collateral) during the period from

the Petition Date through and including the Maturity Date (defined in the DIP Term Sheet) in

accordance with the terms and conditions of this Interim Order.

        5.       Borrowing Authorization.

                 (a)   The DIP Facility. The Debtors are authorized to enter into and perform

the transactions contemplated in this Interim Order and the DIP Loan Documents and such

additional documents, instruments, and agreements as may be reasonably required by the DIP

Lender to implement the terms or effectuate the purposes of this Interim Order, and to receive

financial accommodations and borrow under the Interim DIP Facility up to $7,500,000 in the

aggregate. The DIP Loan Documents shall constitute and are hereby deemed to be the legal,

valid and binding obligations of the Debtors and each of their respective estates, enforceable

against each such Debtor and its respective estate in accordance with the terms hereof and the

DIP Loan Documents and any successor of each such Debtor or any representative of the estates

(including a trustee, responsible person, or examiner with expanded powers).

                 (b)   Working Capital. Each Debtor is authorized to use the DIP Facility and

Cash Collateral to fund working capital requirements and operating expenses of such Debtor

during these Chapter 11 Cases and other line items subject to and in accordance with the terms of

the DIP Budget, this Interim Order, and the DIP Loan Documents, including without limitation,

capital expenditures in the ordinary course of business, management fees or expense

reimbursements due by the Debtors to Regus Management Group, LLC (“RGM”) pursuant to the

management agreements by and between RGM and each Debtor as described more fully in the

Debtor’s Motion for Interim and Final Orders Authorizing Continued Performance of

Obligations under Intercompany Agreements and, on a Final Basis, Payment of the RMG




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Prepetition Claim (the “Intercompany Motion”), amounts owed by each Debtor to RGN-Group

Holdings, LLC (“Holdings”) pursuant to the equipment lease agreements executed by each

Debtor in favor of Holdings as described more fully in the Intercompany Motion, and amounts

owed by each Debtor to Franchise International GmBH (“Franchisor”) pursuant to the Franchise

Agreements for Operation of Regus Business Centres executed by each Borrower and Franchisor

as described more fully in the Intercompany Motion.

        6.       Due Authorization. The Debtors acknowledge, represent, stipulate and agree, and

this Court hereby finds and orders, that:

                 (a)    in entering into the DIP Loan Documents and obtaining the use of Cash

Collateral, and as consideration therefor and for the other accommodations and agreements of the

DIP Lender reflected herein and in the DIP Loan Documents, each Debtor hereby agrees that

until such time as all of the DIP Obligations are indefeasibly paid in full in cash and the DIP

Term Sheet and DIP Loan Documents are terminated in accordance with the terms thereof, such

Debtor shall not in any way prime or seek to prime the DIP Obligations, the DIP Liens or the

DIP Superpriority Claims (defined below) provided to the DIP Lender under this Interim Order

by offering a subsequent lender or a party in interest a superior or pari passu lien or

administrative expense pursuant to any section of the Bankruptcy Code or otherwise or

acquiescing thereto;

                 (b)    the Debtors are jointly and severally liable for the full and prompt

payment when due (whether at maturity or earlier, by reason of acceleration or otherwise, and at

all times thereafter) and performance of the DIP Obligations owed or hereafter owing to the DIP

Lender, and an Event of Default (as defined in the DIP Term Sheet) as to any Debtor shall be an

Event of Default as to each Debtor. The Debtors agree that their obligations under this Interim




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Order and any DIP Loan Document shall not be discharged as to the DIP Obligations until the

indefeasible payment and performance, in full in cash of the DIP Obligations, and the

termination of the lending commitments under the DIP Loan Documents with regard to the

Debtors; and

                 (c)    in no event shall the DIP Lender, whether in connection with the exercise

of any rights or remedies under the DIP Facility, hereunder or otherwise, by entering into the

DIP Loan Documents be deemed to be in control of the operations of the Debtors or to be acting

as a “responsible person” or “owner or operator” with respect to the operation or management of

the Debtors, or otherwise cause liability to arise to the federal or state government, or the status

of responsible person or managing agent to exist under applicable law (as such terms, or any

similar terms, are used in the Comprehensive Environmental Response, Compensation and

Liability Act, sections 9601 et seq. of title 42, United States Code, as amended, or any similar

federal or state statute).

        7.       Stipulation. The Stipulation is hereby superseded and replaced by this Order and

the Final Order.

        8.       DIP Interest and Reimbursement of Expenses.

                 (a)    The principal amount extended to Debtors under the DIP Facility shall

bear interest at the applicable rate (including any applicable default rate after the occurrence of

an Event of Default set forth in the DIP Loan Documents, and be due and payable in accordance

with this Interim Order and the DIP Loan Documents, in each case without further notice,

motion or application to, order of, or hearing before, this Court.

                 (b)    The DIP Lender shall be entitled to reimbursement from the Debtors for

the reasonable and documented prepetition and postpetition fees and expenses of the attorneys




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and advisors (each, a “DIP Lender Advisor”) for the DIP Lender paid to any DIP Lender Advisor

by the DIP Lender, which reimbursement obligations shall be DIP Obligations hereunder.

        9.       Amendments; Joinders.

                 (a)    Each of the Debtors is expressly authorized and empowered to enter into

any non-material amendments, supplements, extensions or other modifications from time to time

in any manner as to which Debtors and the DIP Lender mutually agree in writing without further

order of this Court. Any material modification or amendment agreed to by the Debtors and the

DIP Lender shall be subject to Court approval following notice of such any material modification

or amendment by the Debtors to the U.S. Trustee and the Chapter 5 Trustee, which parties may

object to such modification or amendment, in writing, within five (5) Business Days from the

date of the transmittal of such notice by electronic mail; provided, further, that if such objection

is timely provided, then such modification or amendment shall be permitted only pursuant to an

order of this Court, the entry of which may be sought on an expedited basis.

                 (b)    Additional Debtors in any subsequently filed chapter 11 case that is jointly

administered with the Chapter 11 Cases may become Borrowers under the DIP Facility subject to

(i) such Debtor’s execution of a joinder to the Term Sheet in form and substance acceptable to

the DIP Lender in its sole discretion, (ii) submission by the new Debtor of a joinder motion (the

“Joinder Motion”) with a revised Budget acceptable to the Borrowers and the DIP Lender, and

(iii) entry of an order by the Bankruptcy Court approving the Joinder Motion.

        10.      DIP Superpriority Claims and DIP Liens. In respect of the DIP Obligations, the

DIP Lender is granted the following with respect to each Debtor, its estate and all DIP Collateral

(defined below):




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                 (a)   a superpriority administrative expense claim pursuant to section 364(c)(1)

Bankruptcy Code with priority over all other administrative expenses pursuant to the Bankruptcy

Code (including the kinds specified in or arising or ordered pursuant to sections 105(a), 326, 328,

330, 331, 503(b), 507, 552(b), 726 and, to the extent an administrative expense and subject to

entry of the Final Order, 506(c) and 546(c), (other than expenses of a trustee under section

726(b)) and 1114 of the Bankruptcy Code or otherwise, whether or not such expenses or claims

may become secured by a judgment lien or other non-consensual lien, levy or attachment), which

superpriority expenses of the DIP Lender shall be subordinate to the DIP Liens (defined below)

and the Carve-Out (the “DIP Superpriority Claims”); provided that pursuant to applicable

bankruptcy law, the granting of such DIP Superpriority Claims does not affect the status and

superior priority of any liens, including the liens of the DIP Lender, the Prepetition Secured

Party and the holder of any Permitted Prior Senior Lien.

                 (b)   a first priority, priming security interest in and lien pursuant to section

364(d)(1) of the Bankruptcy Code on all encumbered property of the Debtor and its estate

(the “Section 364(d)(1) Liens”), which Section 364(d)(1) Liens shall be senior to any existing

liens or claims, subject only to (i) the Carve-Out and (ii) liens on property of such Debtor

(including the proceeds of such property) that are in existence on the Petition Date but only, if

applicable, 4 (A) to the extent a lien on any property is valid, perfected, and not avoidable, (B) the

lien on such property (or the proceeds of such property, as applicable) on the Petition Date is a

valid, perfected and non-avoidable Permitted Lien (as defined in the Prepetition Credit

Agreement) senior in priority to the prepetition liens on such property or (C) valid, non-

avoidable liens that are perfected subsequent to the Petition Date as permitted by section 546(b)


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  Debtors have represented that there are no existing prior liens on the Debtors’ property except
the liens in favor of the Prepetition Secured Party.


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of the Bankruptcy Code (the foregoing clauses (A)-(C) being referred to collectively as the

“Permitted Prior Senior Liens”);

                 (c)   a first priority security interest and lien pursuant to section 364(c)(2) of the

Bankruptcy Code on all unencumbered property of the Debtor and its estate (the “Section

364(c)(2) Liens”), including, subject to entry of the Final Order, Avoidance Action Proceeds, but

excluding any lease of, or leasehold or other interest in, any non-residential real property (each,

an “Excluded Real Property Interest”); provided, however, that the Section 364(c)(2) Liens shall

encumber any proceeds or income from or in connection with any Excluded Real Property

Interest, which Section 364(c)(2) Liens shall be subject only to the Carve-Out; and

                 (d)   a junior security interest and lien pursuant to section 364(c)(3) of the

Bankruptcy Code on all property of the Debtor and its estate that is subject to a Permitted Prior

Senior Lien, if any (collectively, the “Section 364(c)(3) Liens”), which Section 364(c)(3) Liens

are also subject to the Carve-Out. The Section 364(d)(1) Liens, Section 364(c)(2) Liens, and

Section 364(c)(3) Liens shall be collectively referred to as the “DIP Liens.”

        11.      DIP Collateral. The DIP Liens of the DIP Lender under the DIP Loan Documents

and as approved and perfected by this Interim Order include, inter alia, liens upon and security

interests in (i) all of those items and types of collateral in which security interests may be created

under Article 9 of the Uniform Commercial Code, (ii) to the extent not expressly prohibited by

law or contract, all of those items and types of collateral not governed by Article 9 of the

Uniform Commercial Code, including, without limitation, licenses issued by any federal or state

regulatory authority, any leasehold or other real property interests (other than Excluded Real

Property Interests), and commercial tort claims of each Debtor, (iii) any and all other collateral

of any nature or form, and (iv) the products, rents, offspring, profits, and proceeds of any of the




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foregoing (collectively, (i)-(iv), the “DIP Collateral”). None of the DIP Obligations, DIP Liens

or DIP Superpriority Claims shall (a) be subject to or pari passu with any lien or security interest

that is avoided and preserved for the benefit of any Debtor’s estate under section 551 of the

Bankruptcy Code, (b) be subject to or pari passu with any inter-company claim, whether secured

or unsecured, of any Debtor or any domestic or foreign subsidiary or affiliate of any Debtor,

(c) be subject to sections 510, 549, or 550 of the Bankruptcy Code or (d) hereafter be

subordinated to or made pari passu with any other lien or security interest under sections 361,

363 or 364 of the Bankruptcy Code or otherwise, except as expressly provided in this Interim

Order.

         12.     Carve-Out.

                 (a)   Generally. The DIP Liens, the DIP Superpriority Claims, the liens of the

Prepetition Secured Party, the Adequate Protection Liens (defined below), and the Section

507(b) Claims (defined below) of the Prepetition Secured Party, shall be subject to the payment,

without duplication, of the following fees and expenses (the amounts set forth below, together

with the limitations set forth therein, collectively, the “Carve-Out”) from any of the loan

proceeds of the DIP Facility, Cash Collateral or proceeds resulting from liquidation of DIP

Collateral or Prepetition Collateral:

                       (i)     The budgeted reasonable fee and expense claims of the respective

retained professionals of the Debtors and the Chapter 5 Trustee, whose retention has been

approved by this Court at any time during the Chapter 11 Cases pursuant to sections 330 and 331

of the Bankruptcy Code (collectively, the “Retained Professionals”) and the reasonable fees and

expenses of the Chapter 5 Trustee (the “Chapter 5 Trustee Fees”), which were incurred (A) on

and after the Petition Date and before the Carve-Out Trigger Date (defined below) and are set




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forth in the DIP Budget, and (B) on and after the Carve-Out Trigger Date in an aggregate amount

not exceeding $1,000,000.00 for all Retained Professionals and Chapter 5 Trustee Fees; provided

that, in each case, such fees and expenses of the Retained Professionals and the Chapter 5

Trustee Fees are ultimately allowed on a final basis by this Court pursuant to sections 330 and

331 of the Bankruptcy Code or otherwise and are not excluded from the Carve-Out under

Paragraph 16 of this Interim Order (nothing herein shall waive the right of any party to object to

the allowance of any such fees and expenses); and

                       (ii)   the unpaid fees payable to the U.S. Trustee and Clerk of the

Bankruptcy Court pursuant to section 1930 of Title 28 of the United States Code, plus statutory

interest, if any, imposed under 31 U.S.C. § 3717. There is no limitation on the obligations of the

Debtors and their estates with respect to unpaid fees payable to the U.S. Trustee and Clerk of the

Bankruptcy Court pursuant to section 1930 of Title 28 of the United States Code.

                 (b)   Carve-Out Trigger Date. As used herein, the term “Carve-Out Trigger

Date” means the date on which the DIP Lender provides written notice to the Debtors, the U.S.

Trustee and the Chapter 5 Trustee that the Carve-Out is invoked, which notice may be delivered

only on or after the occurrence of an Event of Default under the DIP Loan Documents or upon

the Maturity Date.

                 (c)   Reduction of Amounts. The fixed dollar amount available to be paid

under the Carve-Out following the Carve-Out Trigger Date on account of allowed fees and

expenses incurred on and after the Carve-Out Trigger Date shall be reduced, dollar-for-dollar, by

the aggregate amount of payments made on and after the Carve-Out Trigger Date on account of

fees and expenses incurred on and after the Carve-Out Trigger Date to Retained Professionals

(whether from Cash Collateral, any proceeds of the DIP Facility, or otherwise).




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                 (d)    Reservation of Rights. The DIP Lender reserves its rights to object to the

allowance of any fees and expenses. The payment of any fees or expenses of the Retained

Professionals and Chapter 5 Trustee Fees pursuant to the Carve-Out shall not, and shall not be

deemed to (i) reduce any Debtor’s obligations owed to any of the DIP Lender, the Prepetition

Secured Party or to any holder of a Permitted Prior Senior Lien, or (ii) modify, alter or otherwise

affect any of the liens and security interests of such parties in the DIP Collateral or Prepetition

Collateral (or their respective claims against any Debtor). The DIP Lender and Prepetition

Secured Party shall not be responsible for the direct payment or reimbursement of any fees or

disbursements of any Retained Professionals, Chapter 5 Trustee Fees, the U.S. Trustee or Clerk

of the Bankruptcy Court (or of any other entity) incurred in connection with the Chapter 11

Cases or any successor case, and nothing in this Interim Order or otherwise shall be construed to

obligate such parties in any way to pay such compensation to or to reimburse such expenses.

        13.      Waiver of Right to Surcharge. Subject to entry of the Final Order, in light of

(i) the consent of the DIP Lender to the current payment of administrative expenses of the

Debtors’ estates in accordance with the DIP Budget, (ii) the agreement of the DIP Lender to

subordinate its DIP Superpriority Claims to the Carve-Out, and (iii) the agreement of the DIP

Lender to subordinate its DIP Liens to the Carve-Out and Permitted Prior Senior Liens, the DIP

Lender and Prepetition Secured Party are each entitled to a waiver of (a) the provisions of section

506(c) of the Bankruptcy Code and (b) any “equities of the case” claims or other claims under

sections 105(a) or 552(b) of the Bankruptcy Code. Subject to entry of the Final Order, no costs

or expenses of administration or other charge, lien, assessment or claim incurred at any time

(including, without limitation, any expenses set forth in the DIP Budget) by any Debtor or any

other person or entity shall be imposed or charged against any or all of the DIP Collateral, the




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DIP Lender, the Prepetition Collateral, and the Prepetition Secured Party or their respective

claims or recoveries under the Bankruptcy Code, including sections 105(a), 506(c), 552(b)

thereof, or otherwise, and the Debtors, on behalf of their estates, waive any such rights. It is

expressly understood by all parties that in making all such undertakings and proceeding in

compliance with the DIP Budget, this Interim Order and the DIP Loan Documents, the DIP

Lender and Prepetition Secured Party have each relied on the foregoing provisions of this

Paragraph. Notwithstanding any approval of or consent to the DIP Budget, nothing in this

Interim Order shall constitute or be deemed to constitute the consent by the DIP Lender and the

Prepetition Secured Party to the imposition of any costs or expense of administration or other

charge, lien, assessment or claim (including, without limitation, any amounts set forth in the DIP

Budget) against such party, its claims or its collateral under sections 105(a), 506(c) or 552(b) of

the Bankruptcy Code or otherwise and no such consent shall be implied from any other action or

inaction by such parties.

        14.      Automatic Perfection.

                 (a)    The (i) DIP Liens granted to the DIP Lender pursuant to this Interim Order

and the DIP Loan Documents and (ii) Adequate Protection Liens granted pursuant to this Interim

Order to the Prepetition Secured Party shall be valid, enforceable, and perfected by operation of

law upon entry of this Interim Order by this Court without any further action by any party.

Neither the DIP Lender in respect of the DIP Liens, nor the Prepetition Secured Party in respect

of the Adequate Protection Liens, shall be required to enter into or to obtain any control

agreements, landlord waivers (unless required by law or contract), mortgagee waivers, bailee

waivers or warehouseman waivers or to give, file or record any UCC-1 financing statements,

mortgages, deeds of trust, leasehold mortgages, notices to account debtors or other third parties,




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notices of lien or similar instruments in any jurisdiction (including filings with the United States

Patent and Trademark Office, the United States Copyright Office or any similar agency in

respect of trademarks, copyrights, trade names or patents with respect to intellectual property)

(collectively, the “Perfection Documents”), or obtain consents from any licensor or similarly

situated party in interest, or take any other action to validate, record or perfect the DIP Liens

granted under the DIP Loan Documents and this Interim Order and the Adequate Protection

Liens granted under this Interim Order and approved hereby, all of which are automatically and

immediately perfected by the entry of this Interim Order. If the DIP Lender or Prepetition

Secured Party, independently or collectively, in each of their sole discretion respectively, choose

to obtain, enter into, give, record or file any Perfection Documents, (x) all such Perfection

Documents shall be deemed to have been obtained, entered into, given, recorded or filed, as the

case may be, as of the Petition Date, (y) no defect in any such act shall affect or impair the

validity, perfection, priority or enforceability of the DIP Liens and Adequate Protection Liens,

and (z) such liens shall have the relative priority set forth herein notwithstanding the timing of

filing of any such Perfection Documents. In lieu of optional recording or filing any Perfection

Documents, the DIP Lender and the Prepetition Secured Party may, in each of their sole

discretion, choose to record or file a copy of this Interim Order in any place that any Perfection

Document would or could be recorded or filed (which may include a description of the collateral

appropriate to be indicated in a recording or filing at such place of recording or filing), and such

recording or filing by the DIP Lender and the Prepetition Secured Party shall have the same

effect as if such Perfection Document had been filed or recorded as of the Petition Date. In

addition, the DIP Lender may, in its reasonable discretion, require the Debtors to file or record




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any Perfection Document. The Debtors are authorized to execute and deliver promptly upon

demand to the DIP Lender all Perfection Documents as the DIP Lender may reasonably request.

                 (b)   Until the indefeasible payment in full in cash of the DIP Obligations, DIP

Collateral and Perfection Documents evidencing liens subordinate to the DIP Liens in the

possession, custody or control of the Prepetition Secured Party (or in the possession, custody or

control of agents or bailees of the Prepetition Secured Party) shall be deemed to be sufficient for

the purposes of perfecting the security interests granted in such DIP Collateral and the

Prepetition Secured Party (or its agents or bailees, as applicable) shall, to the extent applicable,

be an agent or bailee, as the case may be, on behalf of and for the benefit of the DIP Lender for

the purposes of perfecting the security interests granted in such DIP Collateral. Upon an Event

of Default and the request of the DIP Lender, the Prepetition Secured Party (or its agents or

bailees, as applicable) shall transfer, assign and otherwise convey, as applicable, any DIP

Collateral and Perfection Documents in its possession, custody or control to the DIP Lender for

the enforcement of rights and remedies under the DIP Loan Documents, and, upon the

indefeasible payment in full in cash of all DIP Obligations, the DIP Lender (or its agents or

bailees, as applicable) shall transfer, assign and otherwise convey any Prepetition Collateral and

Perfection Documents to the Prepetition Secured Party. The authorization, grant, perfection,

scope and vesting of the DIP Liens, the DIP Superpriority Claims and the DIP Obligations are

fully effectuated by this Interim Order and any security agreements, collateral agreements or

other Perfection Documents executed as part of the DIP Loan Documents shall supplement the

authorization, grant, perfection, scope and vesting set forth herein as well as the powers and

protections accorded to the DIP Lender, but in no event shall any such security agreement,




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collateral agreement or other Perfection Document be interpreted as a limitation of such

provisions of this Interim Order.

        15.      Effect of Stipulations on Third Parties.

                 (a)     Generally.     The admissions, stipulations, agreements, releases, and

waivers set forth in Paragraph D above of this Interim Order (collectively, the “Prepetition Lien

and Claim Matters”) are and shall be binding on the Debtors, any subsequent trustee (including

any chapter 7 trustee), responsible person, examiner with expanded powers, any other estate

representative and all parties-in-interest and all of their successors-in-interest and assigns,

including,     without    limitation,    any    subsequently   appointed    statutory    committee

(the “Committee”), and the Chapter 5 Trustee, unless, and solely to the extent that, a party-in-

interest with standing and requisite authority, (i) has timely filed the appropriate pleadings, and

timely commenced the appropriate proceeding required under the Bankruptcy Code and

Bankruptcy Rules, including, without limitation, as required pursuant to Part VII of the

Bankruptcy Rules challenging the Prepetition Lien and Claim Matters (each such proceeding or

appropriate pleading commencing a proceeding or other contested matter, a “Challenge”) by 75

days from entry of this Interim Order for any party in interest (the “Challenge Deadline”), as

such applicable date may be extended in writing from time to time in the sole discretion of the

Prepetition Secured Party or by this Court for good cause shown pursuant to an application filed

by a party in interest prior to the expiration of the Challenge Deadline, and (ii) this Court enters

judgment in favor of the plaintiff or movant in any such timely and properly commenced

Challenge proceeding and any such judgment has become a final judgment that is not subject to

any further review or appeal.




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                 (b)    Binding Effect. To the extent any Prepetition Lien and Claim Matters are

not subject to a Challenge timely commenced by the Challenge Deadline, or to the extent any

Challenge does not result in a final and non-appealable judgment or order of this Court that is

inconsistent with the Prepetition Lien and Claim Matters, then, without further notice, motion or

application to, order of, or hearing before, this Court and without the need or requirement to file

any proof of claim, the Prepetition Lien and Claim Matters shall pursuant to this Interim Order

become binding, conclusive and final on any person, entity or party-in-interest in the Chapter 11

Cases, and their successors and assigns, and in any successor case for all purposes and shall not

be subject to challenge or objection by any party-in-interest, including, without limitation, any

trustee, responsible individual, examiner with expanded powers or other representative of the

Debtors’ estates. Notwithstanding anything to the contrary herein, if any such proceeding is

properly and timely commenced, the Prepetition Lien and Claim Matters shall nonetheless

remain binding unless such Challenge is successful pursuant to an order or judgment that is final

and no longer subject to appeal or further review. Subject to entry of the Final Order, to the

extent any such Challenge proceeding is timely and properly commenced, the Prepetition

Secured Party shall be entitled to include the related costs and expenses, including but not

limited to reasonable attorneys’ fees, incurred in defending themselves in any such proceeding,

to the extent permitted by the Prepetition Financing Documents.

        16.      Limitation on Use of Proceeds. Notwithstanding anything in this Interim Order to

the contrary, no portion or proceeds of the DIP Facility, the DIP Collateral, the Prepetition

Collateral, the Cash Collateral, or the Carve-Out, and no disbursements set forth in the DIP

Budget shall be used for the payment of professional fees, disbursements, costs or expenses

incurred in connection with: (a) objecting, contesting or raising any defense to the validity,




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perfection, priority, or enforceability of, or any amount due under, the DIP Loan Documents or

the Prepetition Financing Documents or any security interests, liens or claims granted under this

Interim Order, the DIP Loan Documents, or the Prepetition Financing Documents to secure such

amounts; (b) asserting any Challenges, claims, actions or causes of action against any of the DIP

Lender, the Prepetition Secured Party or any of their respective agents, affiliates, subsidiaries,

directors, officers, representatives, attorneys or advisors; or (c) contesting the Prepetition Lien

and Claim Matters; provided that no more than $25,000.00 in the aggregate of the proceeds of

the DIP Facility, the DIP Collateral, the Prepetition Collateral, the Cash Collateral, and the

Carve-Out may be used by the Chapter 5 Trustee or the Committee, if any, to investigate (but not

prosecute or Challenge) Prepetition Lien and Claim Matters.

        17.      Avoidance Action Proceeds. Subject to entry of the Final Order, (i) Avoidance

Action Proceeds shall be DIP Collateral and shall be subject to the DIP Liens and DIP

Superpriority Claims, and (ii) subject and subordinate to the DIP Liens and DIP Superpriority

Claims, Avoidance Action Proceeds shall be subject to the Adequate Protection Liens and

Section 507(b) Claims of the Prepetition Secured Party.

        18.      Adequate Protection. The Prepetition Secured Party agrees, and this Court finds,

that the adequate protection provided in this Interim Order (the “Adequate Protection”) is

reasonable and calculated to protect the interests of the Prepetition Secured Party.

Notwithstanding any other provision hereof, the grant of Adequate Protection to the Prepetition

Secured Party pursuant hereto is without prejudice to the right of the Prepetition Secured Party to

seek adequate protection or to seek modification of a grant of Adequate Protection provided in

this Interim Order so as to provide different or additional adequate protection, and without

prejudice to the right of the Debtors or any other party in interest to contest any such request.




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                 (a)   Adequate Protection Liens.       As adequate protection, the Prepetition

Secured Party, in accordance with sections 361, 363(e) and 364(d) of the Bankruptcy Code, is

hereby granted valid, binding, enforceable and perfected security interests and replacement liens

(the “Adequate Protection Liens”) upon all of the Debtors’ assets, including (effective upon the

entry of the Final Order) Avoidance Action Proceeds, but excluding any Excluded Real Property

Interest; provided, however, that the Adequate Protection Liens shall encumber any proceeds or

income from or in connection with any Excluded Real Property Interest, in each case to secure

the Prepetition Secured Obligations of such Debtor against, without duplication, the aggregate

diminution, if any, subsequent to the Petition Date, in the value of the applicable Prepetition

Collateral by: (i) the reduction in Prepetition Collateral available to satisfy the Prepetition

Secured Obligations as a consequence of the priming of the Prepetition Secured Obligations by

the DIP Obligations; (ii) depreciation, use, sale, loss, decline in market price or otherwise of the

Prepetition Collateral as a consequence of the use, sale or lease of the Prepetition Collateral by

the applicable Debtor or as a result of the imposition of the automatic stay; and (iii) the sum of

the aggregate amount of all Cash Collateral and the aggregate value of all non-cash Prepetition

Collateral which is applied in payment of the DIP Obligations or any other obligations or

expenses of the applicable Debtor other than Prepetition Secured Obligations, but only to the

extent of any decrease in the value of the Prepetition Collateral on account of subsections (i), (ii)

and (iii) above, all to the extent authorized by the Bankruptcy Code. The Adequate Protection

Liens are subject and subordinate to (A) the Carve-Out, (B) the DIP Obligations, the DIP Liens

and the DIP Superpriority Claims, and (C) the Permitted Prior Senior Liens. The Adequate

Protection Liens shall not (x) be subject to any lien or security interest that is avoided and

preserved for the benefit of the applicable Debtor’s estate under section 551 of the Bankruptcy




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Code, (y) subject to any inter-company claim, whether secured or unsecured, of any Debtor or

any domestic or foreign subsidiary or affiliate of any Debtor, or (z) hereafter be subordinated to

or made pari passu with any other lien or security interest under sections 361, 363 or 364 of the

Bankruptcy Code or otherwise except as expressly provided in this Interim Order and the DIP

Loan Documents, including, without limitation, with respect to the Carve-Out, Permitted Prior

Senior Liens, DIP Obligations, DIP Liens and DIP Superpriority Claims.

                 (b)    Section 507(b) Claims. To the extent that the Prepetition Secured Party

shall hold claims allowable under sections 503(b) and 507(a)(2) of the Bankruptcy Code,

notwithstanding the provision of Adequate Protection hereunder, the Prepetition Secured Party is

hereby granted an administrative expense claim pursuant to section 507(b) of the Bankruptcy

Code (each, a “Section 507(b) Claim”) with priority over all other administrative expenses, but

in all cases subject and subordinate to the Carve-Out, the Permitted Prior Senior Liens, DIP

Obligations, DIP Liens and DIP Superpriority Claims.

                 (c)    Adequate Protection Payments. Until the Prepetition Secured Obligations

have been paid in full, the Debtors shall pay monthly to the Prepetition Secured Party all accrued

and unpaid interest on the Prepetition Secured Obligations as provided in the Prepetition Credit

Agreement.

        19.      Milestones. As a condition to the DIP Facility and the use of Cash Collateral, the

Debtors shall comply with the milestones set forth in the DIP Term Sheet (the “Milestones”).

For the avoidance of doubt, the failure of the Debtors to comply with any of the Milestones

(a) shall constitute an Event of Default under the DIP Facility and this Interim Order, (b) subject

to the expiration of the Remedies Notice Period (defined below), will result in the automatic

termination of the Debtors’ authority to use Cash Collateral under this Interim Order, and




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(c) shall permit the DIP Lenders to, subject to Paragraph 21, exercise the rights and remedies

provided for in this Interim Order and the DIP Facility.

        20.      Indemnification. The Debtors shall indemnify the DIP Lender and its successors

and assigns and the officers, directors, employees, agents, advisors, controlling persons and

members of each of the foregoing (each, an “Indemnified Person”) and hold each of them

harmless from and against all costs, expenses (including reasonable fees, disbursements and

other charges of counsel) and liabilities of such Indemnified Person arising out of or relating to

any claim or any litigation or other proceeding (regardless of whether such Indemnified Person is

a party thereto and regardless of whether such matter is initiated by a third party or by the

Debtors or any of their affiliates or shareholders) that relates to the DIP Facility or the use of

Cash Collateral and borrowings under the DIP Facility pursuant to this Interim Order, including

the financing contemplated hereby, the Chapter 11 Cases, or any transactions in connection

therewith; provided that no Indemnified Person will be indemnified for any cost, expense or

liability to the extent determined in a final, non-appealable judgment of a court of competent

jurisdiction to have resulted from such Person’s gross negligence, willful misconduct, fraud or

violations of this Interim Order.

        21.      Remedies. Upon the occurrence of an Event of Default under the DIP Loan

Documents or upon the Maturity Date, and in each case without further notice, motion or

application to, order of, or hearing before, this Court (other than such notice required by this

Paragraph), subject to the full funding of the Carve-Out, the DIP Lender is granted leave to cease

making financial accommodations to the Debtors, accelerate any or all of the DIP Obligations

and declare such DIP Obligations to be immediately due and payable in full, in cash. Upon the

Maturity Date, and after providing five (5) business days’ prior written notice to this Court




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(the “Remedies Notice Period”), U.S. Trustee, and the Chapter 5 Trustee, the DIP Lender shall

be entitled to exercise all of its rights and remedies under this Interim Order and the DIP Loan

Documents, including, without limitation, to foreclose upon the DIP Collateral or otherwise

enforce the DIP Obligations, the DIP Liens and the DIP Superpriority Claims on any or all of the

DIP Collateral and/or to exercise any other default-related remedies under the DIP Loan

Documents, this Interim Order or applicable law in seeking to recover payment of the DIP

Obligations. With respect to Permitted Prior Senior Liens, any exercise of such rights and

remedies shall be in accordance with applicable non-bankruptcy law. During the Remedies

Notice Period, any party in interest may seek an expedited hearing and an order of the Court

staying the DIP Lender’s exercise of such remedies against the DIP Collateral and, if no such

stay is obtained, then the DIP Lender may exercise any and all such rights and remedies and the

Debtors’ authority to use Cash Collateral under this Interim Order shall terminate, in each case,

without further order of the Court or notice to any party. The DIP Lender shall not object to any

motion filed by the Debtors during the Remedies Notice Period seeking an expedited hearing nor

seek to reduce the Remedies Notice Period.

        22.      Access to DIP Collateral. Subject to appropriate notice and entry of the Final

Order, notwithstanding anything contained herein to the contrary and without limiting any other

rights or remedies of the DIP Lender contained in this Interim Order or the DIP Loan

Documents, or otherwise available at law or in equity, and subject to the terms of the DIP Loan

Documents, upon written notice to the landlord of any leased premises that an Event of Default

or the Maturity Date has occurred and is continuing under the DIP Loan Documents, the DIP

Lender may, subject to the applicable notice provisions, if any, in this Interim Order and any

separate agreement by and between such landlord and the DIP Lender, enter upon any leased




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premises of the Debtors or any other party for the purpose of exercising any remedy with respect

to DIP Collateral located thereon and shall be entitled to all of the Debtors’ rights and privileges

as lessee under such lease without interference from the landlords thereunder. Nothing herein

shall require the DIP Lender to assume any lease as a condition to the rights afforded to the DIP

Lender in this Paragraph.

        23.      Insurance Policies.   Effective as of entry of this Interim Order, the Debtors

consent to, and the DIP Lender and the Prepetition Secured Party shall be, and shall be deemed

to be, without any further action or notice, named as additional insureds and loss payees on each

insurance policy maintained by the Debtors that insures any of the DIP Collateral or Prepetition

Collateral, as applicable.

        24.      Successors and Assigns. This Interim Order, the DIP Term Sheet and the other

DIP Loan Documents shall be binding upon all parties in interest in these Chapter 11 Cases,

including any subsequently appointed trustee, committee, responsible individual, examiner with

expanded powers, or other estate representative.

        25.      Survival. The provisions of this Interim Order and any actions taken pursuant

hereto shall survive the entry of any subsequent order (other than entry of any subsequent Final

Order which shall supersede this Interim Order), and the rights, remedies, powers, privileges,

liens and priorities of the DIP Lender and the Prepetition Secured Party provided for in this

Interim Order, in any DIP Loan Document and any Prepetition Financing Document shall not be

modified, altered or impaired in any manner without their consent (which consent shall not be

unreasonably withheld) by any order, including any order (i) confirming any plan of

reorganization or liquidation in any of the Chapter 11 Cases (and, to the extent not indefeasibly

paid in full in cash, the DIP Obligations shall not be discharged by the entry of any such order,




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each of the Debtors having hereby waived such discharge pursuant to section 1141(d)(4) of the

Bankruptcy Code), (ii) converting any of the Chapter 11 Cases to a Chapter 7 case or to cases not

under the Small Business Reorganization Act, (iii) dismissing any of the Chapter 11 Cases, or

(iv) any superseding cases under the Bankruptcy Code. The terms and provisions of this Interim

Order as well as the DIP Obligations, the DIP Liens, the DIP Superpriority Claim, the DIP Loan

Documents, and the Adequate Protection Liens shall continue in full force and effect

notwithstanding the entry of any such order, and such rights, claims and liens shall maintain their

priority as provided by this Interim Order and the DIP Loan Documents to the maximum extent

permitted by law until all of the DIP Obligations are indefeasibly paid in full, in cash.

        26.      Good Faith. The DIP Facility, the use of Cash Collateral, and the other provisions

of this Interim Order, the DIP Term Sheet and the other DIP Loan Documents have been

negotiated in good faith and at arm’s length among the Debtors, the DIP Lender, and the

Prepetition Secured Party, and the extension of the financial accommodations to the Debtors by

the DIP Lender pursuant to this Interim Order and the DIP Loan Documents have been and are

deemed to be extended in good faith, as that term is used in section 364(e) of the Bankruptcy

Code. The DIP Lender and the Prepetition Secured Party are entitled to, and are hereby granted,

the full protections of section 364(e) of the Bankruptcy Code.

        27.      Subsequent Reversal or Modification. If any or all of the provisions of this

Interim Order are hereafter reversed, modified, vacated or stayed, that action will not affect

(i) the validity of any obligation, indebtedness or liability under this Interim Order and the DIP

Loan Documents by the Debtors prior to the date of receipt of written notice to the DIP Lender

and the Prepetition Secured Party of the effective date of such action, or (ii) the validity and

enforceability of any lien, administrative expense, right, or priority authorized or created hereby




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or pursuant to this Interim Order and the DIP Loan Documents, including, without limitation, the

DIP Obligations, the DIP Liens, the DIP Superpriority Claims, the Prepetition Secured

Obligations, the Adequate Protection Liens, and the Section 507(b) Claims.

        28.      No Waiver. This Interim Order shall not be construed in any way as a waiver or

relinquishment of any rights that the DIP Lender and Prepetition Secured Party may have to

bring or be heard on any matter brought before this Court.            Any consent, modification,

declaration of default, or exercise of remedies or non-exercise of remedies under or in

connection with this Interim Order or the DIP Loan Documents shall require the approval of the

DIP Lender and shall not be deemed a waiver or relinquishment of any of the rights of the DIP

Lender. Except as expressly set forth herein, nothing contained in this Interim Order (including

without limitation, the authorization to use any Cash Collateral) shall impair, prejudice or modify

any rights, claims or defenses available in law or equity to the DIP Lender or the Prepetition

Secured Party. All such rights, claims and defenses, and the rights, objections and defenses of all

parties in connection therewith, are hereby reserved.

        29.      Additional Defaults. In addition, and without limitation of the Events of Default

set forth in and defined in the DIP Loan Documents or this Interim Order, it shall be a default

hereunder (and constitute an “Event of Default” under the DIP Loan Documents) if an order is

entered converting any of the Chapter 11 Cases or dismissing the Guarantor Debtors’ Chapter 11

Cases under section 1112 of the Bankruptcy Code or appointing a Chapter 11 trustee or an

examiner or other estate representative with expanded powers. Any order for dismissal or

conversion shall be automatically deemed to preserve the rights of the DIP Lender and the

Prepetition Secured Party under this Interim Order and shall preserve the Carve-Out. It shall be

an Event of Default for the sale of substantially all of the assets of the Debtors, unless, upon the




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closing of such transaction, all liens securing the DIP Obligations and the Prepetition Secured

Obligations are transferred to the proceeds of such sale. If an order dismissing any of these

Chapter 11 Cases under section 305 or 1112 of the Bankruptcy Code or otherwise is at any time

entered, such order shall be deemed to provide that (a) the DIP Liens and the DIP Superpriority

Claims granted to the DIP Lender hereunder and in the DIP Loan Documents, as the case may

be, and the Carve-Out shall continue in full force and effect, shall remain binding on all parties

in interest and shall maintain their priorities as provided in this Interim Order until all DIP

Obligations and indebtedness owing to the DIP Lender under the DIP Loan Documents shall

have been indefeasibly paid in full in cash and the DIP Lender’s obligations and commitments

under the DIP Loan Documents shall have been terminated, and this Court shall retain

jurisdiction, notwithstanding such dismissal, for purposes of enforcing the DIP Obligations, DIP

Liens, DIP Superpriority Claims, Adequate Protection Liens, Section 507(b) Claims, and the

Carve-Out.

        30.      Order Governs. In the event of any conflict between the provisions of this Interim

Order and the DIP Loan Documents, the Motion, or any supporting documents (including,

without limitation, with respect to Excluded Real Property Interests), the provisions of this

Interim Order shall control and govern to the extent of such conflicts.

        31.      Right to Credit Bid. Pursuant to section 363(k) of the Bankruptcy Code, (i) the

DIP Lender shall have the exclusive right to use the DIP Obligations, DIP Liens and DIP

Superpriority Claim to credit bid with respect to any bulk or piecemeal sale of all or any portion

of the DIP Collateral, and (ii) subject to entry of the Final Order and the rights of the Chapter 5

Trustee or any Committee under paragraph 15, the Prepetition Secured Party shall have the

exclusive right to use the Prepetition Secured Obligations and the Prepetition Adequate




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Protection Liens and Section 507(b) Claims to credit bid with respect to any bulk or piecemeal

sale of all or any portion of the Prepetition Collateral.

        32.      No Marshaling. Subject to entry of the Final Order, none of the DIP Lender, DIP

Collateral, Prepetition Secured Party or Prepetition Collateral shall be subject to the doctrine of

marshaling or any similar doctrine or law of any jurisdiction requiring the recovery upon or

application to any indebtedness of any collateral or proceeds in any particular order or action.

        33.      Waiver of Requirement to File Proofs of Claim.

                 (a)    The DIP Lender shall not be required to file proofs of claim in the Chapter

11 Cases or, subject to the entry of the Final Order, any successor chapter 7 cases, in order to

maintain its claims for payment of the DIP Obligations under the applicable DIP Loan

Documents. The statements of claim in respect of the DIP Obligations set forth in this Interim

Order, together with the evidence accompanying the Motion and presented at the Interim

Hearing are deemed sufficient to and do constitute proofs of claim in respect of such obligations

and such secured status.

                 (b)    The Prepetition Secured Party shall not be required to file proofs of claim

in the Chapter 11 Cases or, subject to the entry of the Final Order, any successor chapter 7 cases,

in order to maintain its claims for payment of the Prepetition Secured Obligations under the

Prepetition Financing Documents or for payment and performance of the Adequate Protection

obligations hereunder. The statements of claim in respect of the Prepetition Secured Obligations

and the Adequate Protection obligations set forth in this Interim Order, together with the

evidence accompanying the Motion and presented at the Interim Hearing are deemed sufficient

to and do constitute proofs of claim in respect of such obligations and such secured status.




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        34.      Lease Rejection Rights. The DIP Lender shall be provided no less than two (2)

days’ prior written notice (or such lesser time as the DIP Lender may consent to in writing)

before the Debtors file a motion seeking authority to reject a lease. Upon the effective date of

any Debtor’s rejection of the lease of any center, and conditioned on the prior written consent of

the DIP Lender, (i) Holdings shall be entitled to take possession of the FF&E leased to the

Debtors for use at such center and owned by Holdings, and (ii) RGM and Franchisor shall be

permitted to move occupants to other centers under the terms of their management agreements

and franchise agreements with the Debtors.

        35.      Immediate Effect of Order. This Interim Order shall take effect immediately

upon execution hereof, and, notwithstanding anything to the contrary contained in Bankruptcy

Rules, including Bankruptcy Rule 4001(a)(3), there shall be no stay of execution of effectiveness

of this Order. All objections to the entry of this Interim Order have been withdrawn or overruled

and the Motion is approved on an interim basis on the terms and conditions set forth herein. The

Debtors shall promptly mail copies of this Interim Order to (i) the U.S. Trustee; (ii) the Chapter 5

Trustee; (iii) each Debtor’s twenty (20) largest unsecured creditors; (iv) counsel to the DIP

Lender and the Prepetition Secured Party; (v) all other known parties with liens of record on

assets of the Debtors as of the Petition Date; (vi) the local office for the Internal Revenue

Service; and (vii) any party having filed requests for notice in the Chapter 11 Cases (collectively,

(i)-(vii), the “Notice Parties”).

        36.      Final Hearing. The Final Hearing is scheduled for September 29, 2020, at 10:00

a.m. (prevailing Eastern Time) before this Court. The Debtors shall promptly serve a notice of

entry of this Interim Order and the Final Hearing, together with a copy of this Interim Order, by

first class mail, postage prepaid or overnight mail upon the Notice Parties. The notice of the




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entry of this Interim Order and the Final Hearing shall state that objections to the entry of the

Final Order shall be filed with this Court by no later than 4:00 p.m. (prevailing Eastern Time) on

September 24, 2020 (the “Objection Deadline”), with copies to: (i) counsel for the Debtors,

Faegre Drinker Biddle & Reath LLP, 222 Delaware Avenue, Suite 1410, Wilmington, DE

19801, Attn. Patrick Jackson and Ian Bambrick; (ii) counsel for the DIP Lender and the

Prepetition Secured Party, Young Conaway Stargatt & Taylor, LLP, 2000 North King Street,

Wilmington, Delaware 19801, Attn: Robert Brady and Joseph M. Barry; (iii) the Office of the

United States Trustee for the District of Delaware, J. Caleb Boggs Federal Building, 844 King

Street, Suite 2207, Wilmington, DE 19801, Attn: David Villagrana; and (iv) the Chapter 5

Trustee, Gibbons PC, 300 Delaware Avenue Suite 1015, Wilmington, DE 19801, Attn: Natasha

Songonuga.

        37.      Non-Debtors Not Subject to this Order.       For the avoidance of doubt and

notwithstanding anything to the contrary contained herein or in the Motion, nothing in this

Interim Order shall (i) constitute a finding or determination with respect to the validity, amount,

priority, or enforceability of any debt to Regus by any entity other than the Debtors,

(ii) authorize, provide for, or result in the encumbrance of any property of any entity other than

the Debtors, or (iii) authorize, provide for, or result in the incurrence of any debt by any entity

other than the Debtors.




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                                       EXHIBIT A

                                     DIP Term Sheet




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                             RGN-GROUP HOLDINGS, LLC et al.
                               DIP FACILITY TERM SHEET
                                     August 25, 2020


This term sheet (this “Term Sheet”) sets forth a summary of the terms and conditions with respect to
the DIP Loans (as defined below) and the DIP Facility (as defined below). This Term Sheet shall be
a binding agreement with respect to the DIP Loans and, together with the Financing Orders (as
defined below) and any other related agreements, documents, security agreements or pledge
agreements entered into in connection herewith and therewith, sets forth all of the terms, conditions,
representations and other provisions with respect to the DIP Facility. In the event of any conflict
between this Term Sheet and the terms of the Financing Orders, the terms of the Financing Orders
shall govern.



 Borrowers:                        The Borrowers shall be those debtors and debtors-in-
                                   possession (each, a “Debtor” and, collectively, the
                                   “Debtors”) in the jointly administered cases (the “Chapter
                                   11 Cases”) filed under Chapter 11 of Title 11 of the United
                                   States Code (as amended, the “Bankruptcy Code”) and filed
                                   with the United States Bankruptcy Court for the District of
                                   Delaware (the “Bankruptcy Court”). As used herein, the
                                   term “Petition Date” shall refer to the date of
                                   commencement of the applicable Debtor’s Chapter 11 Case.



 DIP Lender:                       Regus Corporation, a Delaware corporation



 DIP Facility:                     Up to $17,500,000.00 million under a multi-draw term loan
                                   debtor-in-possession financing facility (the “DIP Facility” and the
                                   loans made thereunder, the “DIP Loans”). As provided herein, the
                                   DIP Facility will be secured by a first priority lien on all of the
                                   Borrowers’ assets, including (effective upon the entry of the Final
                                   Order) all proceeds of avoidance actions (collectively, the “DIP
                                   Collateral”). Subject, in each case, to the conditions precedent set
                                   forth herein and in the Financing Orders, $7,500,000.00 of the DIP
                                   Facility (the “Interim DIP Loan”) will be funded upon entry of an
                                   interim order approving the DIP Facility (the “Interim Order”),
                                   with the remainder (the “Remaining DIP Loans”) to be funded
                                   consistent with the Budget (as defined below) upon entry of the
                                   final order (the “Final Order, and together with the Interim Order,
                                   the “Financing Orders”). Without limiting the foregoing, the DIP
                                   Facility shall be subject to the entry in the Bankruptcy Court of the
                                   Interim Order (as to the interim DIP Facility) and the Final Order
                                   (as to the final DIP Facility), in form and substance acceptable to
                                   the DIP Lender in its sole and absolute discretion.
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 Joint and Several Liability:   The Borrowers shall have joint and several liability for the DIP
                                Obligations.

 Interest Rate/ Default Rate:   Interest shall accrue on the DIP Loans at the rate of 6.5% per
                                annum (or, if less, at the highest rate then permitted by
                                applicable law). Accrued, unpaid interest shall be paid by the
                                Borrowers to the DIP Lender on or before the 1st business
                                day of each month.



                                At all times while an Event of Default (as defined below) exists, at
                                the election of the DIP Lender, the DIP Loans shall bear interest at
                                a rate per annum equal to 1.00% in excess of the interest rate set
                                forth in the immediately preceding paragraph.

                                It is the intention of the parties hereto to conform strictly to
                                all applicable usury laws now or hereafter in force, and any
                                interest payable under this Term Sheet and related
                                documentation shall be subject to reduction to the amount not
                                in excess of the maximum legal amount allowed under the
                                applicable usury laws as now or hereafter construed by the
                                courts having jurisdiction over such matters.



 Maturity Date:                 The earliest of (a) February 16, 2021 (or such later date as
                                the DIP Lender in its sole discretion may agree in writing
                                with the Borrowers); (b) acceleration of the DIP Loans
                                pursuant to this Term Sheet or the Financing Orders; (c) 40
                                days after entry of the Interim Order (or such later date as the
                                DIP Lender in its sole discretion may agree in writing with
                                the Borrowers) if the Final Order has not been entered and
                                become a final, non-appealable order on or prior to the
                                expiration of such 40-day period; and (d) the effective date
                                of a plan of reorganization filed in the Chapter 11 Cases (the
                                “Plan”) that is confirmed pursuant to an order entered by the
                                Bankruptcy Court and to which the DIP Lender consents in
                                its sole and absolute discretion.



 Budget:                        All advances, and the use of funds provided, under the DIP
                                Facility and any Cash Collateral (as defined below) shall be
                                subject to and consistent with the budget to be agreed by DIP
                                Lender and the Borrowers (the “Budget”), which Budget may be
                                modified by the Borrowers with the written consent of the DIP
                                Lender in its sole and absolute discretion and without further order

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                                         of the Bankruptcy Court. The funding of all DIP Loans following
                                         the Interim DIP Loan shall be subject to prior use of cash in
                                         accordance with the Budget and cash need under the Budget.

                                         Commencing September 25, 2020 and continuing on the same day
                                         every four weeks thereafter (and if such date is not a business day,
                                         the following business day), the Borrowers shall furnish a
                                         supplement to the initial Budget (or the previously supplemented
                                         Budget), updating and/or extending the period covered by the
                                         initial Budget (or the previously supplemented Budget) so that it
                                         covers at least the period ending 13 weeks from the week in which
                                         the supplement is delivered. Such supplemental Budgets shall be
                                         subject to the DIP Lender’s approval in its sole and absolute
                                         discretion and without further order of the Bankruptcy Court. The
                                         initial Budget (or the previously supplemented and approved
                                         Budget) shall remain the Budget in effect with respect to the
                                         period covered by such Budget until such time as the DIP Lender
                                         approves such supplemental Budget.

                                         Commencing October 2, 2020 and continuing on the same
                                         day every four weeks thereafter (and if such date is not a
                                         business day, the following business day), the Debtors shall
                                         provide the DIP Lender with variance reporting, for the
                                         cumulative four-week period ending the last business day of
                                         the week then ended, on a line item basis for cash receipts,
                                         cash     operating    disbursements      and    non-operating
                                         bankruptcy-related cash disbursements, which reporting shall
                                         (a) detail the variance, if any, of actual cash disbursements
                                         and actual cash receipts from the Budget and (b) provide an
                                         explanation of any per line item variance greater than
                                         10.00%. To illustrate the foregoing, the first variance report
                                         shall be due October 2, 2020 and shall cover the cumulative
                                         four-week period ending September 25, 2020.



                                         The Debtors shall provide to the DIP Lender such other
                                         financial and operational reporting as reasonably requested
                                         by the DIP Lender from time to time.



    Cash Use Stipulation:                Pursuant to the Cash Collateral Stipulation 5, Regus Corporation
                                         consented to the use of its Cash Collateral by RGN-Columbus IV,
                                         LLC (“Columbus-IV”) to pay August rent in the ordinary course
                                         of business, or to the extent such Cash Collateral was insufficient,
                                         as an extension of unsecured credit by Regus Corporation pursuant
                                         to section 364(a) of the Bankruptcy Code pending the negotiation


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  Capitalized terms not otherwise defined herein shall have the meaning ascribed to such terms in the Declaration of
James S. Feltman In Support of Chapter 11 Petitions and First-Day Relief [Docket No. 3].
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                               of this Term Sheet and the Financing Orders. The amount of any
                               Cash Collateral used or unsecured credit granted to Columbus-IV
                               pursuant to the Cash Collateral Stipulation shall be deemed to be a
                               DIP Loan as of the date of the entry of the Interim Order and part
                               of the DIP Obligations (as defined below) pursuant to this Term
                               Sheet and the Financing Orders.

 DIP Obligations:              As used herein, the term “DIP Obligations” means (a) the due and
                               punctual payment by the Borrowers of (i) the unpaid principal
                               amount of and interest on (including interest accruing after the
                               maturity of the DIP Loans) the DIP Loans, as and when due,
                               whether at maturity, by acceleration or otherwise, and (ii) all other
                               monetary obligations, including advances, debts, liabilities,
                               obligations, fees, costs, expenses and indemnities, whether
                               primary, secondary, direct, indirect, absolute or contingent, due or
                               to become due, now existing or hereafter arising, fixed or
                               otherwise, of the Borrowers to the DIP Lender under this Term
                               Sheet, the Financing Orders, and related documentation, and
                               (b) the due and punctual payment and performance of all
                               covenants, duties, agreements, obligations and liabilities of the
                               Borrowers to the DIP Lender under or pursuant to this Term Sheet,
                               the Financing Orders and related documentation.


                               No later than the effective date of the Plan, the DIP
                               Obligations shall be indefeasibly paid in full in cash.



 Cash Collateral:              Subject to the entry in the Bankruptcy Court of the Interim Order,
                               the DIP Lender hereby consents to the use of its “cash collateral”
                               as defined in section 363(a) of the Bankruptcy Code (the “Cash
                               Collateral”), all in accordance with the terms and conditions set
                               forth in this Term Sheet, the Financing Orders, any related
                               documentation and the Budget.


                               In the event that the Final Order is not entered by the
                               Bankruptcy Court and become a final, non-appealable order
                               on or prior to the date that is 40 days after entry of the
                               Interim Order (or such later date as the DIP Lender in its sole
                               discretion may agree in writing with the Borrowers), upon
                               the expiration of the Remedies Notice Period (as defined
                               below) (and subject to the Remedies Notice Period
                               Procedures (as defined below)), the consent of the DIP
                               Lender to the use of Cash Collateral shall automatically
                               terminate.



 Use of DIP Loan Proceeds The proceeds of the DIP Loans and Cash Collateral shall be
                               available to finance, in each case consistent with the Budget:
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 and Cash Collateral:
                               1. working capital and general corporate purposes, including the
                               payment of rent and other lease expenses;

                               2. management fees or expense reimbursements to Regus
                               Management Group, LLC (“RGM”) pursuant to the
                               Management Agreement by and between RGM and each Borrower
                               as described more fully in the Debtor’s Motion for Interim and
                               Final Orders Authorizing Continued Performance of Obligations
                               under Intercompany Agreements and, on a Final Basis, Payment
                               of the RMG Prepetition Claim (the “Intercompany Motion and the
                               interim and final orders thereon shall be referred to as the
                               “Intercompany Orders”);

                               3. amounts owed by each Borrower to Holdings pursuant to the
                               Equipment Lease Agreements executed by each Borrower and
                               Holdings as described more fully in the Intercompany Motion; and

                               4. amounts owed by each Borrower to Franchise International
                               GmBH (“Franchisor”) pursuant to the Franchise Agreements for
                               Operation of Regus Business Centres executed by each Borrower
                               and Franchisor as described more fully in the Intercompany
                               Motion.

 Initial Funding:              Subject to the terms and conditions set forth in this Term Sheet
                               (including the Conditions Precedent (as defined below)) and the
                               Financing Orders:

                               1. Upon entry in the Bankruptcy Court of the Interim Order, in
                               form and substance acceptable to the DIP Lender in its sole and
                               absolute discretion, approving the DIP Loans and this Term Sheet
                               and any other applicable documentation, the Interim DIP Loan
                               will be available for the liquidity needs of the Debtors pursuant to
                               the Budget.

                               2. Upon the entry in the Bankruptcy Court of the Final Order, in
                               form and substance acceptable to the DIP Lender in its sole and
                               absolute discretion, approving (among other things) the DIP
                               Facility and the DIP Loans, the remaining $10,000,000 of the DIP
                               Loans will be available for the liquidity needs of the Debtors
                               pursuant to the Budget.

 Security:                     As security for the prompt and complete payment and
                               performance when due (whether at stated maturity, by acceleration
                               or otherwise) of the DIP Obligations, each Borrower hereby grants
                               to the DIP Lender a security interest in and continuing lien on all of
                               such Borrower’s right, title and interest in, to and under all of the
                               DIP Collateral, including, but not limited to the following, in each
                               case, whether now owned or existing or hereafter acquired, created
                               or arising and wherever located: (a) all assets and property of
                               each Borrower and its estate, real or personal, tangible or
                               intangible, now owned or hereafter acquired, whether arising
                               before or after the Petition Date, including, without limitation, all
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                               contracts, contract rights, licenses, general intangibles,
                               instruments, equipment, accounts, documents, goods, inventory,
                               fixtures, documents, cash, cash equivalents, chattel paper, letters
                               of credit and letter of credit rights, investment property,
                               commercial tort claims, money, insurance, receivables, receivables
                               records, deposit accounts, collateral support, supporting
                               obligations and instruments, all interests in leaseholds and real
                               properties, all patents, copyrights, trademarks, trade names and
                               other intellectual property (whether such intellectual property is
                               registered in the United States or in any foreign jurisdiction), all
                               books and records relating to the foregoing, all other personal and
                               real property of the Borrowers, and all proceeds, products,
                               accessions, rents, income and profits of or in respect of any of the
                               foregoing (in each case as the foregoing are defined in the
                               Uniform Commercial Code as in effect from time to time in the
                               State of New York (the “UCC”) (and, if defined in more than one
                               Article of such Uniform Commercial Code, as defined in Article 9
                               thereof)); and (b) subject to the Final Order, proceeds of any actions
                               under sections 544, 545, 547, 548 and 550 of the Bankruptcy
                               Code.

                               Each Borrower hereby authorizes the DIP Lender to, at any time
                               and from time to time, file any documents evidencing or
                               perfecting the security interests granted herein, including without
                               limitation financing statements, continuation statements,
                               mortgages and amendments thereto that describe the DIP
                               Collateral (including describing the DIP Collateral as “all assets”
                               or “all personal property” of each Borrower, or words of similar
                               effect), and which contain any other information required pursuant
                               to the UCC or applicable law for the sufficiency of filing office
                               acceptance of any such document, and each Borrower agrees to
                               furnish any such information to the DIP Lender upon request.

                               If an Event of Default shall occur and be continuing, the DIP
                               Lender may exercise, in addition to all other rights and remedies
                               granted to it in this Term Sheet, the Financing Orders and in any
                               other instrument or agreement securing, evidencing or relating to
                               the DIP Obligations, all rights and remedies of a secured party
                               under the UCC or any other applicable law. Without limiting the
                               generality of the foregoing, if an Event of Default shall occur and
                               be continuing, the DIP Lender, without demand of performance or
                               other demand, presentment, protest, advertisement or notice of any
                               kind (except any notice required by law referred to below) to or
                               upon any Borrower or any other person or entity (all and each of
                               which demands, presentments, protests, advertisements and
                               notices and related defenses are hereby waived), may in such
                               circumstances forthwith collect, receive, appropriate and realize
                               upon the DIP Collateral, or any part thereof, and/or may forthwith
                               sell, lease, assign, give options to purchase, or otherwise dispose
                               of and deliver the DIP Collateral or any part thereof (or contract to
                               do any of the foregoing), in one or more parcels at public or private
                               sale or sales, upon such terms and conditions as they may deem
                               advisable and at such prices as they may deem best, for cash or on
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                               credit or for future delivery with assumption of any credit risk. The
                               DIP Lender may disclaim any warranties that might arise in
                               connection with any such lease, assignment, grant of option or
                               other disposition of DIP Collateral and have no obligation to
                               provide any warranties at such time. The DIP Lender shall have
                               the right upon any such public sale or sales, and upon any such
                               private sale or sales, to purchase the whole or any part of the DIP
                               Collateral so sold, free of any right or equity of redemption in any
                               Borrower, which right or equity is hereby waived and released.
                               Such sales may be adjourned and continued from time to time
                               with or without notice. The DIP Lender shall have the right to
                               conduct such sales on any Borrower’s premises or elsewhere and
                               shall have the right to use any Borrower’s premises without charge
                               for such time or times as the DIP Lender deems necessary or
                               advisable. The DIP Lender shall apply the net proceeds of any
                               action taken by them pursuant to this provision, after deducting all
                               reasonable costs and expenses of every kind incurred in
                               connection therewith or incidental to the care or safekeeping of
                               any of the DIP Collateral or in any way relating to the DIP
                               Collateral or the rights of the DIP Lender hereunder, including
                               attorneys’ fees and disbursements, to the payment of the DIP
                               Obligations in accordance with this Term Sheet, the Financing
                               Orders and related documentation. Each Borrower waives all
                               claims, damages and demands it may acquire against the DIP
                               Lender arising out of the exercise by them of any rights hereunder.
                               If any notice of a proposed sale or other disposition of DIP
                               Collateral shall be required by law, such notice shall be deemed
                               reasonable and proper if given at least 10 days before such sale or
                               other disposition.

                               Each Borrower hereby irrevocably constitutes and appoints the
                               DIP Lender and any officer or agent thereof, with full power of
                               substitution, as its true and lawful attorney-in-fact with full
                               irrevocable power and authority in the place and stead of such
                               Borrower and in the name of such Borrower or in its own name,
                               for the purpose of carrying out the terms of this Term Sheet and
                               related documentation, to take any and all appropriate and
                               reasonable action and to execute any and all documents and
                               instruments which may be necessary or desirable to accomplish
                               the purposes of this Term Sheet and related documentation. Each
                               Borrower hereby ratifies all that such attorneys shall lawfully do
                               or cause to be done by virtue hereof. All powers, authorizations
                               and agencies contained in this provision are coupled with an
                               interest and are irrevocable until this Term Sheet is terminated,
                               and the security interests created hereby are released. The DIP
                               Lender’s sole duty with respect to the custody, safekeeping and
                               physical preservation of the DIP Collateral in its possession shall
                               be (a) to deal with it in the same manner as the DIP Lender deals
                               with similar property for its own account, and (b) to account for
                               monies actually received.

                               Subject to any surviving obligations, at such time as the DIP
                               Obligations have been indefeasibly paid in full, the DIP Collateral
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                               shall be released from the liens created hereby. At the request and
                               sole expense of any Borrower following any such termination, the
                               DIP Lender shall deliver to the Borrowers any DIP Collateral held
                               by the DIP Lender hereunder and execute and deliver to the
                               Borrowers such documents as the Borrowers shall reasonably
                               request to evidence such termination.

                               Each Borrower understands and agrees that the obligations of each
                               Borrower under this provision shall be construed as continuing,
                               absolute and unconditional without regard to (a) the validity or
                               enforceability of this Term Sheet and any related documentation,
                               any of the DIP Obligations or any other collateral security therefor
                               or guaranty or right of offset with respect thereto at any time or
                               from time to time held by DIP Lender, (b) any defense, set-off or
                               counterclaim (other than a defense of indefeasible payment of the
                               DIP Obligations in full) which may at any time be available to or
                               be asserted by any Borrower or any other person or entity against
                               the DIP Lender or (c) any other circumstance whatsoever (with or
                               without notice to or knowledge of any Borrower) which
                               constitutes, or might be construed to constitute, an equitable or
                               legal discharge of any Borrower for the DIP Obligations, in
                               bankruptcy or in any other instance. When making any demand
                               hereunder or otherwise pursuing its rights and remedies hereunder
                               against any Borrower, each DIP Lender may, but shall be under no
                               obligation to, make a similar demand on or otherwise pursue such
                               rights and remedies as it may have against any other Borrower or
                               any other person or entity or against any other collateral security
                               or guaranty for the DIP Obligations or any right of offset with
                               respect thereto, and any failure by any DIP Lender to make any
                               such demand, to pursue such other rights or remedies or to collect
                               any payments from any other Borrower or any other person or
                               entity or to realize upon any such collateral security or guaranty or
                               to exercise any such right of offset, or any release of any other
                               Borrower or any other person or entity or any such collateral
                               security, guaranty or right of offset, shall not relieve any Borrower
                               of any obligation or liability hereunder, and shall not impair or
                               affect the rights and remedies, whether express, implied or
                               available as a matter of law, of the DIP Lender against any
                               Borrower. For the purposes hereof “demand” shall include the
                               commencement and continuance of any legal proceedings.

 Priority and Liens:           All of the claims of the DIP Lender under the DIP Facility with
                               respect to the DIP Loans and the DIP Obligations shall at all
                               times:

                               1. pursuant to section 364(c)(1) of the Bankruptcy Code, be
                               entitled to superpriority claim status in the Chapter 11 Cases
                               (which claims shall be payable from and have recourse to all DIP
                               Collateral) (subject to the Carve-Out (as defined below));

                               2. pursuant to section 364(d)(1) of the Bankruptcy Code, be
                               secured by a perfected first priority, priming lien on all
                               encumbered DIP Collateral (subject to the Carve-Out and
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                               Permitted Prior Senior Liens, if any);

                               3. pursuant to section 364(c)(2) of the Bankruptcy Code, be
                               secured by a perfected first priority lien on all unencumbered DIP
                               Collateral (subject to the Carve-Out); and

                               4. pursuant to section 364(c)(3) of the Bankruptcy Code, be
                               secured by a perfected junior priority lien on all DIP Collateral
                               that is subject to a Permitted Prior Senior Lien, if any (subject to
                               the Carve-Out).

 Carve-Out:                    The Financing Orders shall provide for a customary, agreed
                               funded budget for the Debtors’ professionals that will be subject to
                               a carve-out of the superpriority claims and liens of the DIP Lender
                               (the “Carve-Out”).

 Conditions Precedent:         The obligations of the DIP Lender to make any DIP Loans shall be
                               conditioned on the satisfaction or waiver of the following:

                               1. With respect to the availability of the Interim DIP Loan, the
                               entry by the Bankruptcy Court of the Interim Order in form and
                               substance acceptable to the DIP Lender in its sole and absolute
                               discretion.

                               2. With respect to the availability of the Remaining DIP Loans,
                               the entry of the Final Order in form and substance acceptable to
                               the DIP Lender in its sole and absolute discretion.

                               3. The interim Intercompany Order shall have been entered
                               concurrent with the Interim Financing Order and the final
                               Intercompany Order shall have been entered concurrent with entry
                               of the Final Financing Order.

                               4. No trustee (other than a standing trustee under section 1183 of
                               the Bankruptcy Code) or examiner having expanded powers shall
                               have been appointed with respect to the Borrowers or their
                               properties.

                               5. There shall exist no unstayed action, suit, investigation,
                               litigation or proceeding pending or (to the knowledge of the
                               Borrowers) threatened in writing in any court or before any
                               arbitrator or governmental instrumentality (other than the
                               Chapter 11 Cases or the consequences that would normally result
                               from the commencement and continuation of the Chapter 11
                               Cases) restraining, prohibiting or imposing material and adverse
                               conditions upon this Term Sheet or the Financing Orders.

                               6. No default or Event of Default shall have occurred or be
                               continuing under this Term Sheet.

                               7. The Borrower shall have delivered to the DIP Lender a draw
                               request in a form acceptable to the DIP Lender.

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                               8. Any draw request shall not exceed the total amount of
                               expenditures as set forth in the then-current Budget for the next
                               four (4) weeks by more than ten percent (10%).

                               9. This Term Sheet and any related documentation required
                               hereunder shall have been executed and delivered in form, scope
                               and substance satisfactory to the DIP Lender, and the DIP Lender
                               shall have a perfected security interest in the DIP Collateral.

                               10. There shall not exist any development occurring with respect
                               to the Debtors or the DIP Collateral which could, in the opinion of
                               the DIP Lender, materially and adversely affect the net operating
                               income or value of the Debtors.

 Prepayments / Commitment      Voluntary prepayments of the DIP Loans and termination or
 Reductions:                   reduction of the commitments in respect of the DIP Loans in
                               whole or in part shall be permitted at any time without premium or
                               penalty. All payments and prepayments of principal and interest
                               hereunder and all principal reductions effected in accordance with
                               the terms of this Term Sheet and the Financing Orders shall be
                               applied first to the accrued and unpaid interest due hereunder and
                               second to the unpaid principal balance of the DIP Loans then
                               outstanding.

 Affirmative Covenants:        So long as any amount remains outstanding under this Term Sheet
                               or the Financing Orders, the Borrowers will:

                               1. use the advances made under the DIP Facility and the Cash
                               Collateral consistent with the Budget, and not use such funds to
                               commence any action against the DIP Lender or its affiliates,
                               employees, directors, officers or principals;

                               2. permit the DIP Lender and its representatives and designees
                               to visit and inspect the properties, books and records of the
                               Borrowers upon reasonable notice; provided that no disclosure of
                               information by the Borrowers to the DIP Lender in connection with
                               any such inspection shall be required to the extent that such
                               disclosure would result in the breach of any confidentiality
                               obligations to which the Borrowers are subject or if such
                               disclosure would compromise attorney-client privilege or require
                               the disclosure of attorney work product;

                               3. subject to the Budget, pay all material obligations imposed
                               upon any Borrower or any of its properties or assets as they become
                               due and payable, to the extent payment and/or enforcement thereof
                               is not stayed as a result of the Chapter 11 Cases;

                               4.   comply with the requirements of all applicable laws;

                               5. comply with the schedule of Case Milestones (as defined
                               below);

                               6. promptly upon request execute and deliver such documents
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                               and do such other acts as the DIP Lender may reasonably request
                               in connection with the DIP Facility, and in accordance with this
                               Term Sheet and the Financing Orders (including but not limited to
                               execution of any additional security documents that may be
                               reasonably requested);

                               7. deliver, or cause to be delivered, such agreements, documents
                               and instruments in furtherance of this Term Sheet and the
                               Financing Orders as the DIP Lender may from time to time
                               reasonably request (a) to carry out more effectively the purposes
                               of this Term Sheet and the Financing Orders, (b) to subject to the
                               liens created hereby any of the DIP Collateral, (c) to perfect and
                               maintain the validity, effectiveness and priority of the liens created
                               hereby and (d) to better assure, convey, grant, assign, transfer,
                               preserve, protect and confirm to the DIP Lender the rights granted
                               or now or hereafter intended to be granted to the DIP Lender under
                               this Term Sheet and the Financing Orders; and

                               8. maintain the security interest created by this Term Sheet as a
                               perfected security interest having at least the priority required
                               hereby and defend such security interest against all other claims and
                               demands.

 Negative Covenants:           So long as any amount remains due and outstanding under this
                               Term Sheet or the Financing Orders, the Borrowers will not do
                               any of the following:

                               1. incur any indebtedness (other than the borrowings under the
                               DIP Facility and obligations permitted to be incurred consistent
                               with the Budget, any other indebtedness permitted (with prior
                               written consent) to be incurred by the DIP Lender and the
                               Bankruptcy Court, and any unsecured obligations incurred in the
                               ordinary course of business by the Borrowers);

                               2. incur any liens (other than liens securing indebtedness
                               required or permitted by this Term Sheet and the Financing Orders
                               to be secured, other liens permitted (with prior written consent) by
                               the DIP Lender, and customary nonconsensual liens);

                               3. sell or transfer any assets outside the ordinary course of
                               business, unless such sale or transfer results in the indefeasible
                               payment in full in cash of the DIP Obligations (other than
                               dispositions permitted (with prior written consent) by the DIP
                               Lender);

                               4. use proceeds of the Carve-Out and the DIP Collateral (including
                               the Cash Collateral) except as set forth in this Term Sheet and the
                               Financing Orders;

                               5.    amend any of the Financing Orders or any Bankruptcy Court
                               order relating to cash management or the Budget without the prior
                               written consent of the DIP Lender in its sole and absolute
                               discretion;
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                               6. agree to entry of any order precluding or modifying the DIP
                               Lender’s rights to credit bid up to the full amount of the
                               outstanding DIP Obligations for the Debtors’ assets; or

                               7.    other than the Carve-Out and as contemplated by the
                               Financing Orders, consent to the granting of adequate protection
                               payments or liens, superpriority administrative expense claims or
                               liens having priority senior to or pari passu with those granted to
                               the DIP Lender, except as otherwise expressly permitted by this
                               Term Sheet or the Financing Orders.

 Case Milestones:              Unless waived by the DIP Lender in its sole discretion, the failure
                               of the Borrowers to meet the following milestones shall constitute
                               an Event of Default:

                               1.   filing of the Plan no later than November 16, 2020;

                               2. entry of an order confirming the Plan that is reasonably
                               acceptable to the DIP Lender no later than January 15, 2021; and

                               3. the “Effective Date” under the Plan shall have occurred no
                               later than February 16, 2021.

 Events of Default:            The term “Event of Default” as used herein means the occurrence
                               or happening, at any time and from time to time, of any of the
                               following:

                               1. The failure by the Borrowers to perform or comply with any
                               term, condition, covenant or obligation (other than as the result of
                               any action or omission of the DIP Lender or RGM) contained in
                               this Term Sheet or any of the Financing Orders which, in the case
                               of Affirmative Covenants, continues unremedied for five (5) days
                               after the receipt of written notice by the Borrowers.

                               2. Any representation or warranty made in this Term Sheet or in
                               any written document, statement, report, financial statement or
                               certificate made or delivered to the DIP Lender by any of the
                               Borrowers is untrue or incorrect in any material respect as of the
                               date when made or deemed made.

                               3. The cessation of the DIP Facility or any provision of this
                               Term Sheet being in full force and effect or the DIP Facility or any
                               provision of this Term Sheet being declared by the Bankruptcy Court to
                               be null and void or the validity or enforceability of any provision
                               of the DIP Facility or this Term Sheet being contested by any
                               Borrower or any Borrower denying in writing that it has any
                               further liability or obligation under any provision of the DIP
                               Facility or the DIP Term Sheet or the DIP Lender ceasing to have
                               the benefit of the liens granted by this Term Sheet.

                               4. Except as permitted by this Term Sheet or the Financing
                               Orders, the entry of any order of the Bankruptcy Court granting to
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                               any third party a claim or lien pari passu with or senior to that
                               granted to the DIP Lender hereunder.

                               5. Until the DIP Obligations are indefeasibly repaid in full (other
                               than contingent obligations for which no claim has been made)
                               and all commitments under the DIP Facility are terminated, the
                               Borrowers shall make any payment of prepetition principal or
                               interest or otherwise on account of any prepetition indebtedness
                               for borrowed money or payables other than the DIP Obligations
                               under the DIP Facility or other than as is consistent with the
                               Budget, the Intercompany Orders, or the Financing Orders.

                               5. Failure of the Borrowers to meet any of the applicable Case
                               Milestones (other than as the result of any action or omission of
                               the DIP Lender).

                               6. The entry of an order converting the Chapter 11 Cases to cases
                               under Chapter 7 of the Bankruptcy Code, or the Debtors filing a
                               motion or not opposing a motion seeking such relief.

                               7. The entry of an order dismissing the Guarantor Debtors’
                               Chapter 11 Cases, or the Debtors filing a motion or not opposing a
                               motion seeking such relief without the prior written consent of the
                               DIP Lender.

                               8. The entry of an order in the Chapter 11 Cases appointing any
                               examiner having expanded powers or a trustee to operate all or
                               any material part of the Debtors’ business (other than a standing
                               trustee under section 1183 of the Bankruptcy Code).

                               9. The entry of an order in the Chapter 11 Cases granting relief
                               from the automatic stay so as to allow a third party or third parties
                               to proceed against any of the DIP Collateral.

                               10. The entry of an order in the Chapter 11 Cases charging any of
                               the DIP Collateral under section 506(c) of the Bankruptcy Code
                               against the DIP Lender or the commencement of other actions by
                               any Borrower or affiliate thereof that challenges the rights and
                               remedies of any of the DIP Lender under the DIP Facility in any of
                               the Chapter 11 Cases or in a manner inconsistent with this Term
                               Sheet or the Financing Orders.

                               11. Without the prior written consent of the DIP Lender and other
                               than in respect of the DIP Facility and the Carve-Out or as
                               expressly permitted in this Term Sheet or the Financing Orders,
                               the bringing of any motion or taking of any action, seeking entry
                               of an order, or the entry of an order by the Bankruptcy Court, in
                               any of the Chapter 11 Cases (a) granting superpriority
                               administrative expense status to any claim pari passu with or
                               senior to the claims of the DIP Lender, (b) permitting the Debtors
                               to obtain financing under section 364 of the Bankruptcy Code,
                               (c) permitting the Debtors to grant security interests or liens under
                               section 364 of the Bankruptcy Code, (d) permitting the Debtors to
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                               use cash collateral under section 364 of the Bankruptcy Code or
                               (e) authorizing the Debtors to take other actions adverse to any
                               DIP Lender (in its role as a DIP Lender) or its rights and remedies
                               under this Term Sheet or the Financing Orders or its interests in
                               the DIP Collateral under section 364 of the Bankruptcy Code.

                               12. There shall arise any superpriority claim in the Chapter 11
                               Cases which is pari passu with or senior to the priority of the
                               claims of the DIP Lender, except with respect to the Carve-Out
                               and as set forth in this Term Sheet or the Financing Orders.

                               13. The Borrowers or any person claiming by or through any of
                               the Borrowers shall obtain court authorization to commence, or
                               shall commence, join in, assist, fail to object to after the DIP
                               Lender so request, or otherwise participate as an adverse party in
                               any suit or other proceeding against any DIP Lender (in its role as
                               a DIP Lender) regarding the DIP Facility.

                               14. Any Plan shall be filed by the Debtors or be confirmed in any
                               of the Chapter 11 Cases which does not indefeasibly satisfy the
                               DIP Obligations in full in cash or that is satisfactory to the DIP
                               Lender in its sole discretion.

                               15. The Bankruptcy Court shall enter an order authorizing the
                               sale of all or substantially all of the assets of the Debtors unless
                               such order contemplates indefeasible repayment in full in cash of
                               the DIP Facility upon consummation of the sale process unless the
                               DIP Lender consents in writing in its sole and absolute discretion.

                               16. The entry of an order in the Chapter 11 Cases avoiding or
                               permitting avoidance of any portion of the payments made on
                               account of the obligations under the DIP Facility, this Term Sheet,
                               the Financing Orders or any related documents or any other
                               indebtedness provided to the Debtors by the DIP Lender, or the
                               taking of any action by any Borrower to challenge or support a
                               challenge of any such payments.

                               17. This Term Sheet or the Financing Orders and the terms
                               thereof shall cease to create a valid and perfected security interest
                               and lien on the DIP Collateral (other than an immaterial portion
                               thereof) to the extent required hereby.

                               18. The Final Order does not include a waiver, in form and
                               substance satisfactory to the DIP Lender in its sole and absolute
                               discretion, of (a) the right to surcharge the DIP Collateral under
                               section 506(c) of the Bankruptcy Code; and (b) the doctrine of
                               marshaling.

                               19. The filing or support of any pleading by any Borrower (or
                               any subsidiary thereof) seeking, or otherwise consenting to, any
                               relief the granting or prosecution of which could reasonably be
                               expected to result in the occurrence of an Event of Default,
                               including the support or acceptance of any bid in a 363 sale that
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                                  does not provide for the indefeasible repayment in full in cash of
                                  the DIP Facility upon consummation of the sale unless the DIP
                                  Lender consents in advance in writing.

                                  20. Any of the Financing Orders being amended or modified
                                  without the prior written consent of the DIP Lender.

 Remedies:                        Notwithstanding the provisions of section 362 of the Bankruptcy
                                  Code, but subject to any applicable provisions of the Financing
                                  Orders, if any Event of Default occurs and is continuing, the DIP
                                  Lender may take any or all of the following actions:

                                  1. declare the commitment of the DIP Lender to make DIP
                                  Loans and consent to use of Cash Collateral to be terminated,
                                  whereupon such commitment and consent shall be terminated;

                                  2. declare the unpaid amount of the DIP Obligations, all interest
                                  accrued and unpaid thereon, and all other amounts owing or
                                  payable under this Term Sheet and the Financing Orders to be
                                  immediately due and payable, without presentment, demand,
                                  protest or other notice of any kind, all of which are hereby
                                  expressly waived by the Borrowers; or

                                  3. take any other action or exercise any other right or remedy
                                  (including, without limitation, with respect to the liens in favor of
                                  the DIP Lender and including as set forth above under the “Credit
                                  Bidding” section) permitted under this Term Sheet or the
                                  Financing Orders, or by applicable law (including, without
                                  limitation, the rights of a secured creditor under the Uniform
                                  Commercial Code).

 Professional Fees and Expenses   All reasonable and documented professional fees and out-of-
                                  pocket expenses incurred by the DIP Lender in connection with
                                  the establishment of the DIP Facility, including, without
                                  limitation, the negotiation, preparation, execution, delivery,
                                  performance and administration of this Term Sheet and the related
                                  documentation (including, but not limited to, the fees and
                                  expenses of the DIP Lender’s counsel), and including expenses
                                  incurred in connection with defending the validity and
                                  enforceability of the DIP Obligations or any of the liens or
                                  adequate protection securing the same, shall be DIP Obligations.

 Additional Debtors:              Additional Debtors may become Borrowers under this Term Sheet
                                  and the Financing Orders subject to (i) execution of a joinder to
                                  this Term Sheet executed by such Debtor and the DIP Lender,
                                  (ii) submission by the new Debtor of a joinder motion with a
                                  revised Budget (as defined below) acceptable to the Borrowers
                                  and the DIP Lender, and (iii) entry of an order by the Bankruptcy
                                  Court approving the joinder motion of the new Debtor.

 Amendments and Waivers;          Except as otherwise provided herein or therein, the provisions of
 Assignments:                     this Term Sheet and the Financing Orders may not be amended or
                                  waived without the written consent of the DIP Lender. This Term
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                               Sheet shall be binding upon each party hereto and its respective
                               successors and permitted assigns and shall inure to the benefit of
                               the DIP Lender and the successors and permitted assigns of the DIP
                               Lender. No other person or entity shall be a direct or indirect legal
                               beneficiary of or have any direct or indirect cause of action or claim
                               in connection with, this Term Sheet or any related documentation.
                               The rights and obligations of the Borrowers hereunder may not be
                               assigned by the Borrowers without the prior written consent of the
                               DIP Lender, which consent may be grated or withheld in the DIP
                               Lender’s sole discretion.

                               The rights and remedies of the DIP Lender expressly set forth
                               herein and in the related documentation are cumulative and in
                               addition to, and not exclusive of, all other rights and remedies
                               available at law, in equity or otherwise. No failure or delay on the
                               part of the DIP Lender in exercising any right, power or privilege
                               shall operate as a waiver thereof, nor shall any single or partial
                               exercise of any such right, power or privilege preclude any other or
                               further exercise thereof or the exercise of any other right, power or
                               privilege or be construed to be a waiver of any default or Event of
                               Default.

 Governing Law:                New York and the Bankruptcy Code.

 Miscellaneous:                All payments to be made to the DIP Lender hereunder shall be
                               made in the lawful money of the United States of America in
                               immediately available funds.

                               Each party hereto hereby consents and agrees that the state and
                               federal courts located in the State of New York shall have
                               jurisdiction to hear and determine any claims or disputes between
                               the parties hereto pertaining to this Term Sheet or any related
                               documentation or to any matter arising out of or relating to this
                               Term Sheet or any related documentation; provided that during the
                               Chapter 11 Cases the Bankruptcy Court shall have exclusive
                               jurisdiction to hear and determine any claims or disputes between
                               the parties hereto pertaining to this Term Sheet or any related
                               documentation or to any matter arising out of or relating to this
                               Term Sheet or any related documentation; provided, further that
                               nothing in this Term Sheet shall be deemed to operate to preclude
                               the DIP Lender from bringing suit or taking other legal action in
                               any other jurisdiction to realize on any security for the DIP
                               Obligations, or to enforce a judgment or other court order in favor
                               of the DIP Lender. The Borrowers hereby expressly submit and
                               consent in advance to such jurisdiction in any action or suit
                               commenced in any such court, and the Borrowers hereby waive
                               any objection that the Borrowers may have based upon lack of
                               personal jurisdiction, improper venue or forum non conveniens
                               and hereby consent to the granting of such legal or equitable relief
                               as is deemed appropriate by such court.

                               Each party hereto hereby waives, to the fullest extent permitted by
                               applicable law, any right to jury trial with respect to any claim,
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                               demand, action or cause of action arising under this Term Sheet
                               and the related documentation or in any way connected with or
                               related to the dealings in respect hereof or thereof, in each case
                               whether now existing or hereafter arising, and whether in contract,
                               tort, equity or otherwise.

                               In case any provision in or obligation hereunder or in any related
                               document shall be invalid, illegal or unenforceable in any
                               jurisdiction, the validity, legality and enforceability of the
                               remaining provisions or obligations, or of such provision or
                               obligation in any other jurisdiction, shall not in any way be
                               affected or impaired thereby.

                               Each Borrower hereby waives presentment for payment, protest,
                               demand, notice of protest, notice of nonpayment and diligence
                               with respect to this Term Sheet and related documentation, and
                               waives and renounces all rights to the benefits of any statute of
                               limitations or any moratorium, appraisement, exemption, or
                               homestead now provided or that hereafter may be provided by any
                               federal or applicable state statute, including but not limited to
                               exemptions provided by or allowed under the Bankruptcy Code,
                               both as to itself and as to all of its property, whether real or
                               personal, against the enforcement and collection of the DIP
                               Obligations and any and all extensions, renewals, and modifications
                               hereof.

                               The words “include,” “includes” and “including” shall be deemed
                               to be followed by the phrase “without limitation,” whether or not
                               so expressly stated in each such instance and the term “or” has,
                               except where otherwise indicated, the inclusive meaning
                               represented by the phrase “and/or.” The word “will” shall be
                               construed to have the same meaning and effect as the word
                               “shall.” Unless the context requires otherwise, (a) any definition of
                               or reference to any agreement, instrument or other document
                               herein shall be construed as referring to such agreement,
                               instrument or other document as from time to time amended,
                               supplemented or otherwise modified (subject to any restrictions on
                               such amendments, supplements or modifications set forth herein),
                               and any reference to any statute or regulation shall be construed as
                               including all statutory and regulatory provisions amending,
                               replacing, supplementing or interpreting such statute or
                               regulation, (b) any reference herein to any person or entity shall be
                               construed to include such person’s or such entity’s successors and
                               permitted assigns, and (c) the words “herein,” “hereof” and
                               “hereunder,” and words of similar import, shall be construed to
                               refer to this Term Sheet in its entirety and not to any particular
                               provision hereof.

                               This Term Sheet and related documentation are the result of
                               negotiations among and have been reviewed by counsel to each
                               party hereto and thereto and are the products of all parties.
                               Accordingly, such documentation shall not be construed against
                               the DIP Lender merely because of the DIP Lender’s involvement
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                                in their preparation.

                                This Term Sheet may be executed in any number of counterparts
                                and by the different parties hereto on separate counterparts and
                                each such counterpart shall be deemed to be an original, but all such
                                counterparts shall together constitute but one and the same
                                agreement. Receipt by telecopy or electronic transmission of any
                                executed signature page to this Term Sheet or any related
                                documentation shall constitute effective delivery of such signature
                                page. This Term Sheet, together with the Financing Orders and
                                related documentation, embodies the entire agreement and
                                understanding among the parties hereto and supersedes all prior or
                                contemporaneous agreements and understandings of such parties,
                                verbal or written, relating to the subject matter hereof and thereof.



                          [Remainder of page intentionally left blank]




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        IN WITNESS WHEREOF, the parties hereto have caused this Term Sheet to be
 executed as of the date first set forth above.




BORROWERS:



 RGN-NATIONAL BUSINESS CENTERS, LLC, a Delaware limited liability company
 H WORK, LLC, a Delaware limited liability company
 RGN-COLUMBUS IV, LLC, a Delaware limited liability company
 RGN-CHAPEL HILL II, LLC, a Delaware limited liability company
 RGN-CHICAGO XVI, LLC, a Delaware limited liability company
 RGN-FORT LAUDERDALE III, LLC, a Delaware limited liability company


 By:
 Name: James S. Feltman
 Title: Debtors’ Representative



 Address of the Borrowers: 3000 Kellway Drive, Suite 140, Carrollton, Texas 75006




 DIP LENDER:

 REGUS CORPORATION, a Delaware corporation



 By:
 Name:
 Title:




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                                     Exhibit A

                                   To be Provided




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                                               Schedule 1

                                       Debt to Regus Corporation
                          (as of June 30, 2020, the date of best available data)

RGN-Columbus IV, LLC                                  $1,200,367

RGN-Chapel Hill II, LLC                               $1,623,085

RGN-Chicago XVI, LLC                                  $1,834,811

RGN-Fort Lauderdale III, LLC                          $476,419

RGN-Group Holdings, LLC                               $467,000,000

RGN-National Business Centers, LLC                    $0

H Work, LLC                                           $0




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